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                        CASE NO. 18 CV 2523
                         WILLIAM E. AMOR
                                       V.
            OFFICER MICHAEL CROSS, ET AL.


                               DEPONENT:
                             DAVID ICOVE


                                    DATE:
                             August 17, 2021
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·1· · · · ·IN THE UNITED STATES DISTRICT COURT FOR THE
·2· · · · · · · · ·NORTHERN DISTRICT OF ILLINOIS
·3· · · · · · · · · · · ·EASTERN DIVISION
·4· · · · · · · · · · ·CASE NO. 18 CV 2523
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·6· · · · · · · · · · · ·WILLIAM E. AMOR,
·7· · · · · · · · · · · · · ·Plaintiff
·8
·9· · · · · · · · · · · · · · · V.
10
11· · · · ·OFFICER MICHAEL CROSS, ROBERT GUERRERI, BRIAN
12· · ·CUNNINGHAM, JOHN RIPSKY, AND THE CITY OF NAPERVILLE,
13· · · · · · · · · · · · · Defendants
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23· ·DEPONENT:· DAVID ICOVE
24· ·DATE:· · · AUGUST 17, 2021
25· ·REPORTER:· LEAH SHARP




                                                                             EXHIBIT 10
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·1· · · · · · · · · · · · · APPEARANCES
·2
·3· ·ON BEHALF OF THE PLAINTIFF, WILLIAM E. AMOR:
·4· ·Mariah Garcia
·5· ·Loevy & Loevy
·6· ·311 North Aberdeen Street
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·8· ·Chicago, Illinois 60607
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12· ·(Appeared via videoconference)
13
14· ·ON BEHALF OF THE DEFENDANTS, OFFICER MICHAEL CROSS,
15· ·ROBERT GUERRERI, BRIAN CUNNINGHAM, JOHN RIPSKY, AND THE
16· ·CITY OF NAPERVILLE:
17· ·Joseph Polick
18· ·The Sotos Law Firm, P.C.
19· ·141 West Jackson Boulevard
20· ·Suite 1240A
21· ·Chicago, Illinois 60604
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25· ·(Appeared via videoconference)
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·1· · · · · · · · · · · · ·STIPULATION
·2
·3· ·The deposition of DAVID ICOVE was taken at KENTUCKIANA
·4· ·COURT REPORTERS, 30 SOUTH WACKER DRIVE, 22ND FLOOR,
·5· ·CHICAGO, ILLINOIS 60606 via videoconference in which all
·6· ·participants attended remotely on TUESDAY, the 17TH day
·7· ·of AUGUST 2021 at 9:33 a.m.; said deposition was taken
·8· ·pursuant to the FEDERAL Rules of Civil Procedure The
·9· ·oath in this matter was sworn remotely pursuant to
10· ·FRCP 30.
11
12· ·It is agreed that LEAH SHARP, being a Notary Public and
13· ·Court Reporter, may swear the witness and that the
14· ·reading and signing of the completed transcript by the
15· ·witness is not waived.
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·1· · · · · · · PROCEEDINGS
·2
·3· · · · COURT REPORTER:· We are now on the record.· My
·4· ·name is Leah Sharp.· I'm the video technician and
·5· ·court reporter today.· Today is the 17th day of
·6· ·August 2021. The time is 9:33 a.m.· We are convened
·7· ·by videoconference to take the deposition of David
·8· ·Icove in the matter of William E. Amor versus
·9· ·Officer Michael Cross et al., pending in the United
10· ·States District Court for the Northern District of
11· ·Illinois, Eastern Division, case number 18 CV 2523.
12· ·Will counsel please state your appearance, how you
13· ·are attending, and the location you are attending
14· ·from, starting with the plaintiff's counsel?
15· · · · MS. GARCIA:· This is Mariah Garcia for the
16· ·plaintiff.· I am attending over Zoom, and I am
17· ·currently located in a suburb of Chicago.
18· · · · MR. POLICK:· Good morning.· Joseph Polick,
19· ·P-O-L-I-C-K, on behalf of the defendants, and I am
20· ·appearing remotely from my office in Chicago.
21· · · · COURT REPORTER:· All right.· And, Mr. Icove,
22· ·will you please state your full name for the record?
23· · · · THE WITNESS:· David, middle name Jay, J-A-Y,
24· ·last name Icove, I-C-O-V-E.
25· · · · COURT REPORTER:· All right.· And we did see




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·1· · · ·your ID off the record.· Will all parties present
·2· · · ·please agree that the witness is, in fact,
·3· · · ·Mr. Icove?
·4· · · · · · MS. GARCIA:· Plaintiff stipulates.
·5· · · · · · MR. POLICK:· Same with defendants.
·6· · · · · · COURT REPORTER:· All right.· And then,
·7· · · ·Mr. Icove, whenever you're ready will you please
·8· · · ·raise your right hand for me?· Do you solemnly swear
·9· · · ·or affirm that the testimony you are about to give
10· · · ·will be the truth, the whole truth, and nothing but
11· · · ·the truth?
12· · · · · · THE WITNESS:· I do.
13· · · · · · COURT REPORTER:· All right.· Thank you.
14· · · · · · · · · DIRECT EXAMINATION
15· ·BY MS. GARCIA:
16· · · · Q· · All right.· Mr. Icove, my name is Mariah
17· ·Garcia, and I am appearing on behalf of the plaintiff,
18· ·Bill Amor.· And now I know that, as expert, you've been
19· ·deposed a number of times and you're familiar with the
20· ·process.· But since we're doing this remotely, and
21· ·remotely is still relatively new within the litigation
22· ·sphere, I just have a couple of guidelines for you
23· ·before we get started, okay?
24· · · · A· · Yes.
25· · · · Q· · Okay.· So as with other Zoom depositions I've




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·1· ·been on, there may be a time when the Internet cuts off
·2· ·or one of us freezes.· And if that happens and you don't
·3· ·hear one of my questions fully, please let me know, and
·4· ·I'll make sure to restate it, okay?
·5· · · · A· · Yes, ma'am.
·6· · · · Q· · And similarly, if you cut off in the middle of
·7· ·an answer, I'll let you know, put it on the record, so
·8· ·that there's no confusion over what was said and what
·9· ·was testified to, okay?
10· · · · A· · Yes.
11· · · · Q· · And I'm sure you also know this, but because
12· ·this is a remote deposition, we have to be even more
13· ·careful not to speak over each other.· So I'll try my
14· ·best not to interrupt you when you're answering a
15· ·question so long as you try your best not to interrupt
16· ·me when I'm asking one, okay?
17· · · · A· · Yes.· Thank you.
18· · · · Q· · Okay.· And, Mr. Icove, where are you currently
19· ·located?
20· · · · A· · In Knoxville, Tennessee.
21· · · · Q· · Is that where your office is located?
22· · · · A· · Yes.
23· · · · Q· · Okay.· Do you have any papers in front of you?
24· · · · A· · Yes.· I have my --
25· · · · Q· · And you presumed my next question.· What




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·1· ·papers do you have in front of you?
·2· · · · A· · All of my notebooks.· Notebooks -- where are
·3· ·the other ones?· Oh, here they are.· Here's more
·4· ·notebooks, and they're arranged by volume and
·5· ·individuals.· Notebooks, notebooks, and notebooks.
·6· · · · Q· · And what are in those notebooks?
·7· · · · A· · They consist of -- let me start from the
·8· ·beginning.· The first notebook is the disclosure for my
·9· ·expert report as well as some references from
10· ·Mr. Carpenter.· And then I ran out of room, so I have a
11· ·second notebook that is -- starts with the depositions.
12· ·There are seven depo -- depositions in here.· The third
13· ·notebook are three more depositions.· The fourth is
14· ·another deposition.· The fifth is a -- some exhibits
15· ·that were used -- the autopsy reports and diagrams, some
16· ·work that Peter Vabrauskas did.· But I have the textbook
17· ·-- is what I'm referring to because that's his textbook,
18· ·Smoldering Fires.· I have some references to the ASTM
19· ·and SFPE guidelines, and -- and that is -- is it at this
20· ·point.· I'll also show you what else I have before me.
21· · · · Q· · Okay.
22· · · · A· · The -- the NFPA 921 guide.· I have the NFPA
23· ·1033.· I have the 1995 edition of NFPA 921.· And I have
24· ·the latest 2021 Annual Book of ASTM Standards.· And then
25· ·behind me is my library of -- of -- of additional




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·1· ·references should you need to ask.
·2· · · · Q· · That's great.· Thank you so much.
·3· · · · A· · Thank you.
·4· · · · Q· · It'll be easier if you have a copy of your
·5· ·report in front of you since we're going to go through
·6· ·it during this deposition.· So if you want to locate
·7· ·that and make sure it's within reaching distance, that
·8· ·might be helpful.
·9· · · · A· · Okay.
10· · · · · · MR. POLICK:· While the witness is looking for
11· · · ·his report, I just want to make a statement on the
12· · · ·record that the defendants had requested from
13· · · ·plaintiff's counsel the identification of certain
14· · · ·items in plaintiff's expert Douglas Carpenter's
15· · · ·post- conviction file.· Defendants were provided
16· · · ·with a list of items in that file from
17· · · ·Mr. Carpenter's office through plaintiff's counsel.
18· · · ·However, not all the items on that list were readily
19· · · ·identifiable.· We asked plaintiff's counsel to
20· · · ·provide us with identification of a list of items
21· · · ·that we were not able to identify ourselves by
22· · · ·looking through the list.· We requested that in
23· · · ·advance of Mr. Icove's deposition today.· We have
24· · · ·not received the identification of those items, so
25· · · ·given that we have not received the identification




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·1· ·of those items, we're going to make a reservation on
·2· ·the record that Mr. Icove may have additional
·3· ·opinions regarding those items if and when they are
·4· ·identified.
·5· · · · MS. GARCIA:· That's totally fair.· And I would
·6· ·assume that, as with most experts, if Mr. Icove is
·7· ·provided with new material that may alter his
·8· ·conclusions, that he would -- he is free to testify
·9· ·or supplement that information.· As to the remaining
10· ·list of items that defense counsel is not able to
11· ·identify, plaintiff's counsel has reached out to
12· ·Mr. Carpenter's office to get a list further
13· ·identified of the items specifically from the
14· ·post-conviction proceedings, not from the civil
15· ·proceedings, and has yet to receive that.
16· ·Plaintiff's counsel has been in contact with
17· ·Mr. Carpenter's office and has been told that it
18· ·will be forthcoming soon, but because plaintiff's
19· ·counsel's not in charge of how Mr. Carpenter's
20· ·office is run, cannot give a firm date as to when
21· ·that will be.· However, the reservation is
22· ·understood, and if there's something within the
23· ·post-conviction file that was not provided to
24· ·defense or to Mr. Icove from defense, he is free to
25· ·supplement his opinions.· Okay.· Unless you have any




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·1· · · ·other statements you want to make on the record,
·2· · · ·Joe?
·3· ·BY MS. GARCIA:
·4· · · · Q· · Mr. Icove, did you locate your report in
·5· ·disclosure?
·6· · · · A· · I did.· It's right here.
·7· · · · · · MS. GARCIA:· Okay.· So I'm going to mark as
·8· · · ·Exhibit 1 what is titled -- and I'll put this on the
·9· · · ·Zoom screen, the "Disclosure of the Expert Opinion
10· · · ·of David J. Icove," submitted on behalf of the
11· · · ·defendants from -- dated June 17, 2021, which is
12· · · ·Bates number ICOVE 1 to 116.· Give me a second to
13· · · ·share the screen.· My apologies.· It's taking a
14· · · ·moment.· My apologies.· My Zoom is not letting me do
15· · · ·that, but I should be able -- I'm going to see if I
16· · · ·can fix that.· Let's go off the record really
17· · · ·quickly just because I need to relaunch my Zoom in
18· · · ·order to share the screen.· I apologize.
19· · · · · · · (EXHIBIT 1 MARKED FOR IDENTIFICATION)
20· · · · · · COURT REPORTER:· All right.· We are off the
21· · · ·record at 9:43.
22· · · · · · · (OFF THE RECORD)
23· · · · · · COURT REPORTER:· We are back on the record at
24· · · ·9:45.
25· ·BY MS. GARCIA:




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·1· · · · Q· · Okay.· I'm going to share what is being marked
·2· ·as Exhibit 1.· Which again, is Icove 1 to 116.· And,
·3· ·Mr. Icove, this is 116 pages, so I will scroll through
·4· ·it rather quickly.· If you want me to stop at any point,
·5· ·please let me know.· But I'm primarily scrolling to ask
·6· ·if this is the report that you disclosed in this case,
·7· ·Amor v. Cross.· And for the record, I'm continuing to
·8· ·scroll.
·9· · · · A· · Thank you for your patience.
10· · · · Q· · Okay.· So, Mr. Icove, this is the end of the
11· ·exhibit.· Based on a admittedly quick review of this
12· ·document, is this the disclosure report that you
13· ·submitted on behalf of the defendants in Amor versus
14· ·Cross?
15· · · · A· · Yes.· Can you just scroll to page 71 just to
16· ·make sure that that CV is there?· Yes.· Thank you very
17· ·much.· I appreciate it.
18· · · · Q· · Of course.· And on page 65, is this your seal
19· ·and signature?
20· · · · A· · Yes, ma'am.· It is.
21· · · · Q· · Okay.· I'm going to pull up what we have
22· ·marked as Exhibit 2, which is Bates numbered ICOVE
23· ·119 to 122, and which is entitled, "Icove & Associates
24· ·Contract."· And, Mr. Icove, as you did with the first
25· ·exhibit, will you please review as I scroll the contract




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·1· ·that I have pulled up on the screen.· Mr. Icove, on the
·2· ·bottom of page 4, which is Bates numbered 122, there is
·3· ·a signature on the bottom which is demarcated as Joseph
·4· ·M. Polick dated July 27, 2018.· To the best of your
·5· ·recollection, is this the retainer agreement that you
·6· ·completed with defense counsel prior to being retained
·7· ·in this matter?
·8· · · · · · · (EXHIBIT 2 MARKED FOR IDENTIFICATION)
·9· · · · A· · Yes, ma'am.· It is.
10· · · · Q· · Okay.· And on the first page, Bates Icove 119,
11· ·it says that the non-testimonial services for -- within
12· ·this retainer agreement are $400 per hour, $300 per hour
13· ·for travel, and $2,000 flat fee for testimony up to four
14· ·hours, and $450 an hour for testimony after four hours.
15· ·Is this billing rate still the billing rate that you are
16· ·using in this case?
17· · · · A· · Yes, ma'am.· It is.
18· · · · Q· · Okay.· And was this the billing rate that you
19· ·charged the defense while you were doing work on this
20· ·case?
21· · · · A· · Yes.
22· · · · Q· · Okay.· I'm next going to pull up what we'll
23· ·mark as Exhibit 3 and 4, with Exhibit 3 being ICOVE 117
24· ·and Exhibit 4 being ICOVE 118.· And Exhibit 3, at the
25· ·top, it's only one page, says invoice is dated 5-7-2020,




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·1· ·and towards the bottom of the description, it says,
·2· ·"case Amor versus Cross et al.," with a total of $5,400
·3· ·at the bottom here.· Mr. Icove, is this a accurate
·4· ·representation of the invoice that you submitted to
·5· ·defendants for your work on the case in Amor versus
·6· ·Cross on May 7, 2020?
·7· · · · · · · (EXHIBIT 3 MARKED FOR IDENTIFICATION)
·8· · · · · · · (EXHIBIT 4 MARKED FOR IDENTIFICATION)
·9· · · · A· · Yes.· It {inaudible}.
10· · · · Q· · Okay.· And moving on to Exhibit 4, which is
11· ·another invoice which is dated the -- July 12, 2021,
12· ·with a total of $12,000.· Is this a accurate
13· ·representation of the invoice that you submitted to
14· ·defense for payment on May 20 -- 12, 2021, for payment
15· ·on your work on this case?
16· · · · A· · Yes.· It is.
17· · · · Q· · Okay.· And other than the two invoices that
18· ·were disclosed to plaintiff, are there any additional
19· ·invoices that you've issued since the one you issued on
20· ·July 7, 2021?
21· · · · A· · No, ma'am.
22· · · · Q· · Okay.· And is there any additional work that
23· ·you've done for defendants that you have yet to bill
24· ·for?
25· · · · A· · Preparation for this deposition.




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·1· · · · Q· · Okay.· And moving into preparation for this
·2· ·deposition, without -- strike that.· How many hours did
·3· ·you prepare with counsel for this deposition?
·4· · · · A· · Approximately ten hours.
·5· · · · Q· · Ten hours.· And how many hours did you prepare
·6· ·by yourself, which would include, you know, reviewing
·7· ·the documents in your disclosures in preparation for
·8· ·this deposition?
·9· · · · A· · Besides the ten hours?
10· · · · Q· · Yes.· Besides the ten hours you spent with
11· ·prepared with counsel?
12· · · · A· · Maybe an additional three hours.
13· · · · Q· · And generally, how did you prepare for this
14· ·deposition?· What steps did you take?
15· · · · A· · I have typically boxed all my records, and a
16· ·majority of the time we spent punching holes and
17· ·assembling these notebooks so that I would have them in
18· ·order.· So that was probably half of that time, almost
19· ·three hours.· And then -- and then reviewing to make
20· ·sure that the -- that the report was clear and accurate.
21· ·And I want to make sure that I had color copies of the
22· ·-- of some of the exhibits ready for me.
23· · · · Q· · Okay.· And other than your -- strike that.
24· ·What documents did you review in preparation
25· ·specifically for this deposition?




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·1· · · · A· · Basically, all of the documents that I've
·2· ·identified today.· This morning when you first asked of
·3· ·what -- what notebooks do I have in front of me, and
·4· ·what documents.
·5· · · · Q· · And you said you have six notebooks in front
·6· ·of you or was it seven?· My apologies.
·7· · · · A· · I've lost track.· I -- one, two, three, four,
·8· ·five -- let me get back in order here.· Six notebooks.
·9· · · · Q· · Six notebooks.· Okay.· So you spent at least
10· ·on your own, about an hour-and-a-half reviewing the
11· ·documents in those six notebooks, would that be fair to
12· ·say?
13· · · · A· · Yes, ma'am.
14· · · · Q· · In preparation for this deposition of course,
15· ·not overall.· I know that you're billed for more time
16· ·than that.· Okay.· I'm going to go back to Exhibit 1,
17· ·and specifically to the appendixes to your -- the two
18· ·appendixes to your report.· Just let me pull that up.                 I
19· ·know you have it in front of you, but I'm also going to
20· ·sorry, because you have -- do you have this -- the
21· ·appendix in front of you within the report?
22· · · · A· · Appendix A or Appendix B?
23· · · · Q· · Appendix A, which I believe is on page --
24· ·extends from page 66 to 70.
25· · · · A· · Yes.




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·1· · · · Q· · Okay.· So we take a moment, please, to review
·2· ·appendix A, and let me know when you're done.
·3· · · · A· · Okay.· I'd like to update my references that I
·4· ·-- that I have as appointed behind me.· There were some
·5· ·additional references.
·6· · · · Q· · Okay.
·7· · · · A· · The California District Attorneys Association
·8· ·investigation and prosecution of RC -- that is one of
·9· ·the documents that I reviewed.· So like I said, I
10· ·referred as we originally talked behind me for
11· ·additional references.· And I apologize for not having
12· ·that ready for you.
13· · · · Q· · That's all right.· Again, you kind of -- I
14· ·think presumed my question which is, other than the
15· ·references, documents, and material that are listed in
16· ·Appendix A, is there any other material besides the
17· ·California District Attorneys' investigation and
18· ·prosecution reference that you just listed, that is not
19· ·included within the appendix itself?· And I'll give you
20· ·a moment to look over it just so you can be sure.
21· · · · A· · Uh-huh.· Thank you.
22· · · · Q· · But I want us to be on the same page as to
23· ·where you're pulling your information from.
24· · · · A· · Right.· Also identified in the textbooks and
25· ·the -- on page 70, there are four textbooks.· I think it




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·1· ·was too small to identify.· It was on my desk here.· The
·2· ·Ryan et al. 2007 -- the Dalmarnock fire test experiments
·3· ·and modeling.· That's a copy here that I have.
·4· · · · Q· · Okay.
·5· · · · A· · And that's in front of me here.· And the
·6· ·reference to Peacock et al. 2017 -- the CFAST user's
·7· ·guide version 7.· There's a copy of this.· I had it
·8· ·behind me on the floor.· So that's additional material.
·9· ·And --
10· · · · Q· · Sorry, just to clarify, you said that's a --
11· ·that's different from the Peacock that's listed in the
12· ·Appendix A or is it supplemental?
13· · · · A· · This is the most recent --
14· · · · Q· · Okay.
15· · · · A· · -- that I have.· Here as -- this is version 7;
16· ·they periodically update it.· So this is the June 2021
17· ·edition.
18· · · · Q· · Okay.
19· · · · A· · Sure.· I had the most -- also the forensic --
20· ·let me -- the forensic fire scene reconstruction.               I
21· ·just pulled it off my -- off my shelf.· That's
22· ·identified along with Kirk's Fire Investigation.               I
23· ·don't have a co -- I have an electronic copy of the
24· ·Kirk's Fire Investigation, and that should summarize the
25· ·textbooks that I have.· So I apologize for not pulling




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·1· ·that off the shelf for you.
·2· · · · Q· · So it was Kirk's Fire Investigation was one of
·3· ·the textbooks, was there another that you didn't
·4· ·include?· I just want to keep it straight for my own
·5· ·record.
·6· · · · A· · It's -- it's included, it's under the
·7· ·textbooks on page 70.
·8· · · · Q· · Okay.
·9· · · · A· · You asked to -- what was going to be in front
10· ·of me during the deposition.
11· · · · Q· · I appreciate you updating that.
12· · · · A· · Yeah.· Thanks.
13· · · · Q· · Yeah and so -- yes.· My question then is:
14· ·Other than the material that you've listed, the
15· ·documents, information, and data you've listed within
16· ·Appendix A, and the additional references and textbooks
17· ·that you have referenced, which I believe includes
18· ·California District Attorneys' reference, a Ryan et al.
19· · · · · · ·experimental and modeling reference, and an
20· ·updated edition of the Peacock version 7 reference, is
21· ·there any other material or data you relied upon that's
22· ·not listed within appendix A?
23· · · · A· · Not at this time, with the exception of
24· ·Mr. Carpenter's additional data --
25· · · · Q· · Okay.




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·1· · · · A· · -- that's forthcoming.
·2· · · · Q· · I will -- such data exists.· I did --
·3· · · · A· · Hopefully it was coming.
·4· · · · Q· · As -- I think the crux of the issue -- I don't
·5· ·even think it's a disagreement is that plaintiff doesn't
·6· ·believe that any of the post-conviction -- I thought it
·7· ·-- in terms of rebuttal potentially, sorry.· We can --
·8· ·strike that.· Okay.· Outside of all of that, there is
·9· ·nothing else though.
10· · · · A· · There is nothing else at this time that I've
11· ·relied upon that's not listed or in front of me right
12· ·now.
13· · · · Q· · Okay.· And I want to turn to appendix B, which
14· ·outlines your experience, publications, and testimony,
15· ·and that is from Bates ICOVE 71 to ICOVE 84.· And so I
16· ·want to first turn to your professional experience,
17· ·which is on page 71 and 72.· Once you have a chance to
18· ·review that, please let me know.
19· · · · A· · Okay.· Thank you.
20· · · · Q· · Is there any -- oh strike that.· Is this an
21· ·accurate and up-to-date list of your professional
22· ·experience?
23· · · · A· · It is.
24· · · · Q· · Is there anything that is not listed within
25· ·this subcategory that should be listed?




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·1· · · · A· · Not at this time.
·2· · · · Q· · Okay.· I want to turn next to your education
·3· ·which is listed on ICOVE 72.· Is this an accurate and
·4· ·up-to-date list of your education at any secondary or
·5· ·post-secondary institutions that you have enrolled in
·6· ·and graduated from?
·7· · · · A· · This is correct.· This -- this list of
·8· ·education regarding formal degrees.
·9· · · · Q· · Okay.· And you have a number of professional
10· ·certifications, professional registrations, and
11· ·professional association memberships.· So I'll give you
12· ·a second to review those on page 72 and 73.
13· · · · A· · Yes.· Thank you.
14· · · · Q· · Okay.· Are there any professional
15· ·certifications, professional registrations, or
16· ·professional association memberships that you hold which
17· ·are not a part of this list?
18· · · · A· · Yes.
19· · · · Q· · Okay.· What are those?
20· · · · A· · The Fraternal Order of Police Volunteer Lodge
21· ·number 2 in Knoxville, Tennessee.
22· · · · Q· · And what does being a member of the Fraternal
23· ·Order of Police in the Volunteer Lodge, composed of or
24· ·consist of, rather?
25· · · · A· · It consists of a membership representing both




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·1· ·active, and retired police officers, and law enforcement
·2· ·officers in Knoxville, Tennessee.
·3· · · · Q· · And as a -- it's a union, correct?
·4· · · · A· · No, ma'am.· It's not.· It's just a
·5· ·professional organization.· And let me -- let me
·6· ·refresh.· One of the benefits of being a member is the
·7· ·group life insurance program.· So --
·8· · · · Q· · Understandable.
·9· · · · A· · And that's -- it's not a lot of money, but
10· ·it's something that will be in my estate when I decease.
11· ·And also, it's a way of seeing and meeting with friends
12· ·that I worked with, or I retired with in the area.
13· · · · Q· · And forgive my candor, Mr. Icove, but have you
14· ·ever worked as a police officer?
15· · · · A· · Yes.
16· · · · Q· · Okay.· And when were you a police officer?
17· · · · A· · From October 1979 to December 1983.
18· · · · Q· · And where -- in December 1979, what was your
19· ·role, and what department did you work for as a law
20· ·enforcement officer?
21· · · · A· · I worked for the City of Knoxville Department
22· ·of Public Safety.· I was an arson investigator, and
23· ·eventually became the supervisor of the arson task
24· ·force, which represented a combined unit of both police
25· ·detectives and city fire department investigators.




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·1· · · · Q· · Okay.· And as a arson investigator, what law
·2· ·enforcement training did you receive when you first
·3· ·started out with the Knoxville Police Department?
·4· · · · A· · Even though I had prior training in law
·5· ·enforcement, as in other organizations, I was required
·6· ·to go back through the Knoxville Police Academy, which I
·7· ·believe was -- I'd have to look at the certificate, but
·8· ·I believe it was over 400 hours of law enforcement
·9· ·training.· And that allowed me to be certified by the
10· ·State of Tennessee, the POST Commission, which is a
11· ·Police Officer Standards & Training Commission.
12· · · · Q· · And you mentioned that by -- my apologies, I
13· ·didn't mean to cut you off.
14· · · · A· · I was a fully sworn officer as well as an
15· ·assistant to the director of public safety.
16· · · · Q· · And you mentioned that you had law enforcement
17· ·training prior to the Knoxville Academy.· What law
18· ·enforcement training was that?
19· · · · A· · I had basically in-service training in fro --
20· ·in the state of Tennessee for the Tennessee State Fire
21· ·Marshal's Office.· Also in-service training for the Ohio
22· ·State Fire Marshal's Office.· And this -- the Tennessee
23· ·State Fire Marshal's Office -- I worked from August 1976
24· ·through March 1978.· And then the Ohio State Fire
25· ·Marshal's Office -- March 1978 to September 1979.




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·1· · · · Q· · Okay.
·2· · · · A· · And through that, they would have normal
·3· ·training.· And in fact, now I did -- I participate but I
·4· ·also provided training in those schools.
·5· · · · Q· · Okay.· And for the training as Tennessee and
·6· ·Ohio Fire Marshal's -- for the Tennessee and Ohio Fire
·7· ·Marshal's Office, what would be considered normal
·8· ·training as you testified?
·9· · · · A· · Normal training would be -- it consist of the
10· ·standards of care in conducting fire and arson
11· ·investigations.· And that training predated the
12· ·establishment of NFPA 921.
13· · · · Q· · When was NFPA 921 created?
14· · · · A· · Its first publication of the standard of care
15· ·was in 1992.
16· · · · Q· · So was there any sort of standard or guideline
17· ·that you would have been trained on as a fire
18· ·investigator prior to 1992?
19· · · · A· · Yes.
20· · · · Q· · And what would be that standard, or standards
21· ·that you were trained on?
22· · · · A· · Well, part of the standards the -- this is the
23· ·second edition of the California District Attorneys'
24· ·Association manual, and I'm a co-author of that training
25· ·program.· I believe there was a previous edition that




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·1· ·was before 1995.· There was also -- I participated in
·2· ·providing training to other state and local law
·3· ·enforcement agencies.· This is the state of New Jersey
·4· ·investigation and prosecution manual.· And it is -- was
·5· ·funded by the Law Enforcement Assistance Administration.
·6· ·And unfortunately, there is not a specific date on this
·7· ·manual.· But it was in the time period of in the -- it
·8· ·predated possibly 1975.· I also provided training to the
·9· ·New Jersey State Police in the analysis and -- of arson
10· ·investigations, as well as standards of care in
11· ·intelligence gathering.
12· · · · Q· · Okay.· Going back to your role as investigator
13· ·with the Tennessee and Ohio State Fire Marshal's Office,
14· ·what were your duties and responsibilities as
15· ·investigator?
16· · · · A· · Can I amend one more thing?
17· · · · Q· · Yes, of course.
18· · · · A· · The National Bureau of Standards, which is now
19· ·NIST, published a guide for fire investigations.· And
20· ·your questions prompt a historical background.
21· · · · Q· · Well I appreciate you taking a dive back into
22· ·what you had trained on many decades ago.· I understand
23· ·that you do -- cannot remember everything that would
24· ·have been a standard or guideline, but I appreciate you
25· ·trying to source that, nonetheless.




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·1· · · · A· · It's on page 77 of my -- in appendix --
·2· · · · Q· · E?
·3· · · · A· · -- E.· It's 1979.· Myself and the chief of the
·4· ·forensic laboratory at the Ohio State Fire Marshal's
·5· ·Office -- we wrote a chapter in Fire Investigation
·6· ·Photography in the fire investigation handbook that was
·7· ·published by The National Bureau of Standards at that
·8· ·time.· That was most likely one of the first handbooks
·9· ·for conducting fire investigations.· So -- so thank you.
10· ·I apologize for the interruption.
11· · · · Q· · Oh, no -- no issue at all.· I appreciate the
12· ·clarification.· So now that we've covered some of the
13· ·standards and guidelines that you can recall about fire
14· ·investigation prior to the NFPA being published in 1992,
15· ·I wanted to shift back to asking you about the duties or
16· ·responsibilities that you would have had as an
17· ·investigator within the Tennessee and Ohio State Fire
18· ·Marshal's Office.
19· · · · A· · Thank you for answering that question.· The
20· ·role of the fire investigators -- we were called arson
21· ·investigators -- were to conduct large case
22· ·investigations that some of the local departments could
23· ·not handle.· We also were responsible for, upon request
24· ·from a fire department or police department, conducting
25· ·investigations where they did not have the expertise.




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·1· ·And the third area which I was formerly received was we
·2· ·were asked to come in and do peer reviews of
·3· ·investigations where a department had conducted one and
·4· ·they wanted an ex -- an outside independent review,
·5· ·especially regarding the origin and cause of the fire,
·6· ·as well as the fact that we also had what was called the
·7· ·vest pocket subpoena powers -- that we could obtain
·8· ·documents that the local investigators could not obtain.
·9· ·We also had the authority to conduct what was called a
10· ·fire marshal's inquest.· It's very similar to a grand
11· ·jury investigation where we could summon and swear
12· ·witnesses and in cases like that, especially in -- in
13· ·the loss of life, those types of powers rendered by the
14· ·state fire marshal's office were beneficial to the local
15· ·investigators.· So in most states, it would be
16· ·considered a felony to falsely swear in front of a state
17· ·official especially one in which a bona fide subpoena
18· ·has been issued.
19· · · · Q· · Okay.· And when you said that you would
20· ·provide peer review of investigation or help out
21· ·departments or counties or cities that didn't have the
22· ·ability to conduct a thorough investigation, you're
23· ·referring to specifically fire investigation, correct?
24· · · · A· · Well, fire and explosion investigations --
25· · · · Q· · Okay.




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·1· · · · A· · -- so by federal and most state laws say it's
·2· ·causing damage by fire or explosions.· And so the
·3· ·explosions are just basically a fast-moving fire that
·4· ·breaks the sound barrier.
·5· · · · Q· · Okay.· That --
·6· · · · A· · And so -- and -- and so for example, a Molotov
·7· ·cocktail is considered an explosive device.· So we would
·8· ·be brought in to do those.· I was also in Ohio --
·9· ·requested a -- I had a investigation we did with the
10· ·Federal Bureau of Investigation, which is a RICO case, a
11· ·Racketeer Influenced Corrupt Organization.· And they
12· ·needed somebody to testify as to explosibility of an
13· ·explosion during a fire, and they could not find a
14· ·federal law enforcement officer or a laboratory to offer
15· ·that.· So I was able to offer that in lieu as a state
16· ·officer in lieu of a federal officer, so I can provide
17· ·testimony such as that.
18· · · · Q· · Okay.· And other than providing testimony and
19· ·expertise on fire and explosions, did you engage in any
20· ·of the, for lack of better term, activities that a
21· ·non-arson or non-fire investigator would in conducting
22· ·criminal or police investigations?
23· · · · A· · Yes.
24· · · · Q· · Okay.· And what investigations or activities
25· ·that you undertake that would be outside the office of




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·1· ·fire and explosion investigator as an investigator
·2· ·within the state fire marshal's office?
·3· · · · A· · Thank you for asking that question.              I
·4· ·participated with the chief, especially in Ohio, Chief
·5· ·Mohammad Gohar, in testing, field testing,
·6· ·instrumentation such as what we call sniffers.· They had
·7· ·portable gas chromatographs that were issued to
·8· ·investigators.· So we would -- we would analyze or
·9· ·verify and validate that that was a potential tool for
10· ·the field.· We would also look at situations where new
11· ·technologies might be advanced.· And Ohio had at that
12· ·time the best forensics laboratory dedicated just to
13· ·fire and explosions.· So I worked with Mohammad Gohar
14· ·and that's how, for example, that photography chapter
15· ·got written in the NBS handbook.· And we defined now
16· ·what the standard of carriers for processing fire
17· ·scenes.· We do an external, internal panoramic views. We
18· ·were some of the first to do panoramics using standard
19· ·cameras.· The other thing I was doing was I was in
20· ·graduate school, and I was writing a thesis on applying
21· ·pattern recognition to predicting the behavior of serial
22· ·arsonists and bombers.· And they -- and so we had
23· ·problems as other jurisdictions with individuals who
24· ·were compulsive fire setters.· And based on my
25· ·background, I developed algorithms that predict where




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·1· ·the offender may live or work.· And so that was an
·2· ·additional area that I provided.· Also at the time the
·3· ·law enforcement LEAA, Law Enforcement Assistance
·4· ·Administration, they put out different schools to teach
·5· ·us how to do things like net worth calculations for --
·6· ·for looking at arson for profit cases.· We also looked
·7· ·at intelligence analysis and -- and collection.· We
·8· ·looked at the social networks of organized crime.· And
·9· ·so during that time period, myself and the agent from
10· ·the Federal Bureau of Investigation -- we published a
11· ·textbook based on the case we were working on, the RICO
12· ·case, on how prosecutors and federal agents should
13· ·investigate RICO arson cases.· And let me see.· This was
14· ·the -- the second edition of combating arson for profit.
15· ·And so we learned a lot about how to analyze and predict
16· ·what was happening, as well as the proper application of
17· ·the federal and state statutes and -- and arson for
18· ·profit.· So that was something we were proud of and that
19· ·occurred during the time period that I worked for the
20· ·Ohio State Fire Marshal's Office.
21· · · · Q· · Okay.· And as an investigator within either
22· ·the Ohio State Fire Marshal's Office or the Tennessee
23· ·State Fire Marshal's Office, did you have the power to
24· ·arrest or detain suspects of crimes?
25· · · · A· · Not only that -- it included that, but also




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·1· ·the -- the authority to obtain search warrants.· And
·2· ·also to as I indicated before, we had vest pocket
·3· ·subpoena powers to summon and swear witnesses or obtain
·4· ·documents.· So both of those fire marshal's offices had
·5· ·those powers.
·6· · · · Q· · And how often as a investigator did you arrest
·7· ·or detain a suspect personally?
·8· · · · A· · Physically arrest -- most of my -- it was
·9· ·funny the -- when you get your law enforcement
10· ·certification, they bring you before a psychologist. And
11· ·so the last -- the last review, they said, "Describe to
12· ·me how you made your last arrest."· And I said, "It's
13· ·typical that how I make my arrest are by appointment."
14· ·So in majority of the cases, we followed the federal
15· ·standard, and we presented our cases to the grand jury
16· ·rather than getting arrest warrants.· And that was part
17· ·of the peer review process to make sure that the
18· ·District Attorney's Office, where the United States
19· ·Attorney's Office was, had conducted their own peer
20· ·review and were satisfied with the completeness of the
21· ·investigation.
22· · · · Q· · Okay.· And as a fire investigator with the
23· ·state fire marshal's offices, was it within your
24· ·responsibility or duties to identify suspects of crimes
25· ·outside of -- of scenes, explosions, and bombings?· Or




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·1· ·was that something that other persons within the law
·2· ·enforcement bodies of Tennessee and Ohio dealt with?
·3· · · · A· · Arson cuts across the strata of most every
·4· ·other crime.· For example, the racketeering case that I
·5· ·worked on, we looked at not only the predicate offenses
·6· ·required by RICO of -- of arson, but we also looked at
·7· ·other crimes such as bank fraud, wire fraud, also
·8· ·obstruction of justice, and any other related crimes
·9· ·that might come about from that.· So arson may have been
10· ·one of the crimes.· And in fact, in some cases, it was
11· ·probably the lower crime.· For example, it was not
12· ·unreasonable or uncalled on that we would have deaths --
13· ·fire deaths, and it was up to us to make a determination
14· ·with the -- with the guidance of the medical examiner's
15· ·offices whether it was a accidental or -- manner of
16· ·death is -- is -- they would look at it -- what the
17· ·manner of death was and the cause of death.· So we would
18· ·work with them.· So to be a arson investigator, you have
19· ·to basically know every other field within -- within
20· ·criminal investigation.· And that's why the -- typically
21· ·the investigators are put through a full police academy
22· ·if they come from the fire department.· So they are
23· ·exposed to that.· For example, in -- in Virginia, there
24· ·was one town that approximately a third of the fires
25· ·were drug-related.· So it was not uncommon for us to




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·1· ·come across drugs if it's not uncommon to come across an
·2· ·accidental fire or an intentional fire involving a
·3· ·indoor grow operation for marijuana.· So when you
·4· ·arrived at the scene, you'd realize that there were
·5· ·other collateral crimes that were involved in that.· We
·6· ·also looked at hate crimes before they really came
·7· ·about, especially involving radical organizations.
·8· · · · Q· · Okay.· Outside of what you referred to as
·9· ·collateral crimes that you would come across as a fire
10· ·investigator, were there other aspects of the criminal
11· ·investigation that a police officer would do that you
12· ·undertook as an investigator within the fire marshal's
13· ·office?
14· · · · A· · Yes.· We were responsible, especially for the
15· ·cases in which we made direct presentments to the grand
16· ·jury.· We were responsible for coming up with trial
17· ·notebooks.· Basically, the training was as to have a
18· ·complete investigative file with expected testimonies,
19· ·sworn statements, and -- and results of all of the
20· ·forensic laboratory exams for the prosecutor where the
21· ·Assistant US Attorney to be able to use.· And in some
22· ·cases, they were complete enough that we would be just
23· ·walked down the hall to the grand jury and present the
24· ·case.
25· · · · Q· · But those --




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·1· · · · A· · So trial note -- trial notebooks are an
·2· ·important factor and I -- and we teach -- I have taught
·3· ·that in the past.· In fact, my partner from the FBI --
·4· ·when I was at the Ohio State Fire Marshal's Office,
·5· ·trained me on how the federal trial notebooks are done.
·6· ·And they're very comprehensive in their approach.· And
·7· ·so that was a skill set that I acquired and continued on
·8· ·in my career.
·9· · · · Q· · Okay.· I guess another que -- way to ask this
10· ·would be the trial notebooks that you were tasked with
11· ·putting together or -- or helping to promulgate for
12· ·prosecution, did those have to do with any crimes that
13· ·did not involve arson, explosions, or bombing or other
14· ·as you said, collateral crimes that would go along with
15· ·those?
16· · · · A· · Yes.
17· · · · Q· · Okay.· And what would those be other than what
18· ·I've listed and the RICO investigation that you
19· ·commented on?
20· · · · A· · For example, if you're an arsonist, and you
21· ·break into a occupied or an unoccupied dwelling, you
22· ·have also committed the crime of burglary because you've
23· ·entered with an intent to commit a felony.
24· · · · Q· · Wouldn't that be a collateral crime to arson
25· ·in this instance?




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·1· · · · A· · I -- it is -- I -- I typically would charge
·2· ·both.· I would ask for indictments of both burglary and
·3· ·arson.
·4· · · · Q· · Okay.
·5· · · · A· · Especially if they were items removed prior to
·6· ·the fire.
·7· · · · Q· · And as a fire investigator, was it your stated
·8· ·responsibility to investigate crimes that were not
·9· ·collaterally related to arson, explosions, and bombings?
10· · · · A· · It was.
11· · · · Q· · Okay.· And what were those responsibilities
12· ·outside of investigating?
13· · · · A· · The reason -- and like I indicated, when I
14· ·left the Ohio State Fire Marshal's Office, I went to the
15· ·Knoxville Police Department.· Early on, this is the --
16· ·another project that I was involved in, the Anti-Arson
17· ·Resource and Action Guide.· This grant came about when I
18· ·came to the Knoxville Police Department where we would
19· ·describe how to put together arson task forces.· And the
20· ·relationship on the task force is the combined -- the
21· ·combined union of both police and fire investigators.
22· ·Police detectives and -- and fire investigators, were
23· ·that we could have basically look at all of the
24· ·collateral crimes that are involved.· So it was
25· ·responsibility of the unit, my unit to -- to look at the




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·1· ·entire spectrum of what was happening.· And with -- with
·2· ·experienced police detectives, that was part and parcel.
·3· ·For example, if we had a collateral drug relate --
·4· ·drug-related investigation, there is a homicide.· There
·5· ·is a -- a whole series of things where we ended up with
·6· ·sexual-related homicides.· All of those areas were
·7· ·covered.· Also with the responsibility of victims'
·8· ·rights, we would coordinate with the victim witness
·9· ·coordinators that were responsible.· So the formula for
10· ·conducting a thorough and comprehensive investigation is
11· ·to cover the entire strata of all the crimes that we may
12· ·have come across.· So we were a self-standing unit
13· ·basically.· For example, auto theft, it was not uncommon
14· ·to -- for us to get a call that a car has been found
15· ·burning.· And two things would typically come into my
16· ·mind, and I would ask when we got these calls is, "Have
17· ·you looked in the trunk?"· And there are several times
18· ·in my career when -- when they've called back, and I'm
19· ·on the way to a scene by saying, "You know, we're glad
20· ·we looked in the trunk.· There is a body in the trunk."
21· ·And things like that occurred.· So we were a self-
22· ·standing unit, having both police and fire cooperating
23· ·together under one unit.
24· · · · Q· · And this was within the Ohio State Fire
25· ·Marshal's Office and the Tennessee State Fire Marshal's




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·1· ·Office?
·2· · · · A· · No.· This was in the Knoxville Police
·3· ·Department.
·4· · · · Q· · Okay.
·5· · · · A· · Public safety.
·6· · · · Q· · Okay.
·7· · · · A· · And that was a -- that was an innovative. That
·8· ·was advanced by the National League of Cities.· It
·9· ·turned out that the mayor was a former police detective,
10· ·who became an attorney, then he became safety director.
11· ·And he realized that the combined resources of both the
12· ·police and the fire department working together was --
13· ·was the way to go.· And we were part of the development
14· ·of this guidebook for local government officials and --
15· ·and -- and provided some impact, and uploading policy
16· ·guidelines, standards of care.· Even down to writing
17· ·civil services examinations.· So it was quite a eye
18· ·opener, and it was on the cusp of what was going on. And
19· ·that model now is being used throughout the country as
20· ·well as worldwide.
21· · · · Q· · So I understand that you're a combined unit.
22· ·But individually the -- the work that you did in helping
23· ·with this unit was related to fire investigation,
24· ·correct?· If that was your re -- re -- responsibility in
25· ·being a part of this unit?




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·1· · · · A· · It was called the arson task force, but there
·2· ·is a situation in which you may not know immediately
·3· ·that an arson has been committed.· So that's why the
·4· ·thoroughness of the investigations have to be approached
·5· ·as if -- and the documentation and the interviews as if
·6· ·this is a criminal case or not a criminal case.· So the
·7· ·-- the standard of care is -- is to treat all fires with
·8· ·the same level of effort.· So down the road something
·9· ·happens -- there's also the other reason is, is that if
10· ·it becomes a product's liability problem.· If it's a
11· ·faulty product or it's a faulty process that the fire
12· ·codes need to be changed, that -- that thoroughness of
13· ·the investigation helps justify making the changes.· For
14· ·example, in Ohio there was a Cambridge, Ohio fire.· An
15· ·arson case in a motel by -- owned by a national firm
16· ·that had an open stairwell.· And the people who died
17· ·were on the second floor.· It's because the smoke
18· ·entrained -- went down the hallway, up the staircase,
19· ·and we found the victims at the top of the staircase
20· ·trying to get down.· So the problem was a codes issue
21· ·and that's why they now enclose the stair -- the
22· ·staircases to the -- to those areas.· The other thing
23· ·that I had in my tool kit was having been prior to
24· ·working for the state fire marshal's offices is having a
25· ·degree in fire protection engineering.· So I understood




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·1· ·the codes and standards that applied.· And -- and in
·2· ·that fire in Cambridge, Ohio, I recognize pretty quickly
·3· ·that the defect and the design was the open stairwell.
·4· ·And I got with the -- with the organization, the firm
·5· ·that owns the -- own those hotels and said, I think you
·6· ·should look at retrofitting all of your hotels' joint
·7· ·closed stairwells, and that's exactly what they did. But
·8· ·also that was a -- a criminal case.· And so there are
·9· ·other spinoffs that come from this.· So doing a thorough
10· ·investigation, it also helped explain how the fire
11· ·developed and -- and propagated and it -- it helped
12· ·justify that organization as well as other ones to -- to
13· ·do that to make that change.
14· · · · Q· · Mr. Icove, I'm not really asking about the
15· ·thoroughness of the investigation, I'm asking when you
16· ·were a fire investigator within the state fire marshal's
17· ·office or when you were a part of the Knoxville Police
18· ·Department, whether or not your responsibility was to
19· ·provide your opinion and expertise on fire arson and
20· ·explosion-related instances, which I guess would include
21· ·also some of the training and testing that you mentioned
22· ·earlier as a part of your time at the fire marshal's
23· ·office.· Were there --
24· · · · A· · Yes.
25· · · · Q· · -- responsibilities -- yeah.· Would it be fair




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·1· ·to say that that was your primary responsibility in it
·2· ·being a part of these units and investigative task
·3· ·forces?
·4· · · · · · MR. POLICK:· Objection to the form.· But you go
·5· · · ·ahead and answer.
·6· · · · A· · I wish right here still had a copy of my job
·7· ·description.· But if you look at -- on page 26.· Page 26
·8· ·basically is the NFPA 1033, which basically is the job
·9· ·description for a fire investigator.· And these are
10· ·their roles and responsibilities.· And I don't think I
11· ·have -- oh, yes, I have right here.· I -- in
12· ·anticipation of your question, ma'am, NFPA 1033 first
13· ·came into existence in 1987, followed by 1993, 1998,
14· ·2003, 2009, 2014, and there will be a 2022 edition. That
15· ·standard -- which your job performance requirements are
16· ·exactly what fire investigators are expected to do. So
17· ·an answer to your question, they're responsible for
18· ·beating the general requirements.· They're responsible
19· ·for conducting scene examinations.· They're responsible
20· ·for documenting the scene.· They're responsible for
21· ·evidence collection and preservation, conducting
22· ·interviews, doing post-incident investigations, and
23· ·making presentations.· Each one of those -- and I
24· ·compared those in 1993 for this case to the present
25· ·2014.· And the only difference between this is the




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·1· ·mention of employing the elements of the scientific
·2· ·method.· So these basically -- and I would have to pull
·3· ·the '87 to basically tell you what was in -- in -- in
·4· ·the -- in play then.· But these are the general roles
·5· ·and responsibilities and job performance requirements.
·6· ·So these are not -- a fire investigator will examine the
·7· ·scene, they shall examine the scene.· And so this
·8· ·probably answer -- may answer your question that of what
·9· ·the roles and responsibilities were.· And I had these
10· ·backs then in this -- 1970s and I still have these now.
11· ·These also -- job performance work responsibilities
12· ·apply to both individuals in the public and private
13· ·sectors.· So it's a -- it's a unique thing.· So that's
14· ·why I decided to document that.· If necessary, we could
15· ·do a literature review to come up with all of these, but
16· ·these are the -- the dates of the 1033 standard and it's
17· ·consistent.
18· · · · Q· · And that --
19· · · · A· · So this is --
20· · · · Q· · That is -- sorry, go ahead.
21· · · · A· · No.
22· · · · Q· · So that is very helpful.· And I think maybe a
23· ·way of summarizing this entire line of questioning is
24· ·that: Would it be fair to say that the table 2 on
25· ·page 76 of your report generally outlines the




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·1· ·responsibilities that you would have had as a fire
·2· ·investigator or someone working on a fire investigation
·3· ·task force back in the '70s up until present times?
·4· · · · A· · Yes, ma'am.· That would be fair --
·5· · · · Q· · Okay.
·6· · · · A· · -- to say.· Thank you.
·7· · · · Q· · And going back quickly to your law enforcement
·8· ·background, other than the academy that -- the police
·9· ·academy that you were trained in, did you have any
10· ·continuing training on police investigations
11· ·specifically after completing the Knoxville Police
12· ·Academy?
13· · · · A· · Yes.· I did.
14· · · · Q· · And when were those trainings?
15· · · · A· · I would have to pull them.· But they're
16· ·in-service trainings.· They're annual certification
17· ·classes.· Especially the -- for fire investigators,
18· ·there would be an annual training seminar.· With the
19· ·police departments and law enforcement agencies, they're
20· ·a lot more stringent and they also give you greater
21· ·opportunity to take the courses.· For example, in Ohio,
22· ·we took the two-week criminal intelligence school, which
23· ·allowed us, like I said, to do -- learn how to do
24· ·techniques, like, social network analysis, net worth
25· ·calculations, things like that -- that were advanced




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·1· ·schools.· So we were -- had the opportunity for those.
·2· ·Also, now I did -- I take the training but also
·3· ·participated and -- and in training for that.· So
·4· ·progressively in each agency that I've worked for, I
·5· ·have received ample training.
·6· · · · Q· · And would that training be on -- strike that.
·7· ·What would that training be on for, actually -- strike
·8· ·that as well.· I'm so -- I apologize.· I'm trying to
·9· ·come up with a question that gets to what I wanted to
10· ·actually ask you.· Since you've left the Knoxville,
11· ·Tennessee Criminal Investigations Division in 2005, have
12· ·you taken any further trainings similar to what you
13· ·described as an in-service training on specifically
14· ·police investigations?
15· · · · A· · Yes.
16· · · · Q· · Okay.· And when was the last time you took a
17· ·training on police practices or police investigations?
18· · · · A· · Probably two months ago.· I was -- I may -- I
19· ·spend several days a month conducting peer reviews
20· ·training and testimony for the Knox County Sheriff's
21· ·Office for their Fire and Explosives Investigations
22· ·Unit.· And part of that is that we are required to go to
23· ·certain in-service training.· The last one I went to
24· ·dealt with domestic violence.· The previous one I went
25· ·to involved organization in preparation for riots.· I've




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·1· ·also have been enrolled in taking online classes --
·2· ·formal classes that are police standards.· And then I'm
·3· ·involved taking one-hour lengthy course on emergency
·4· ·pursuit.· Also, I'm a board-certified forensic engineer,
·5· ·and the -- with the National Academy of Forensic
·6· ·Engineers.· I'm the co-chair of their fire investigation
·7· ·committee, which looks at the broad range of -- of fires
·8· ·in the United States.· And two years ago, we put on an
·9· ·extensive workshop for forensic engineers as well as
10· ·investigators in that area.· So to answer your question
11· ·shortly, I meet or exceed the requirements for the post
12· ·-- for the police officers standards and training for
13· ·the State of Tennessee at this point.· But in the
14· ·previous jobs that I've had, we've always maintained our
15· ·-- our training and met or exceed -- exceeded the
16· ·requirements.
17· · · · Q· · And Mr. Icove, other than your time within the
18· ·Knoxville Police Department -- sorry, strike that.· Was
19· ·there ever a time during your tenure with any of the law
20· ·enforcement agencies you worked with, that you would
21· ·have held the role of police officer?
22· · · · A· · Yes.
23· · · · Q· · And when was that?
24· · · · A· · Before I retired, I was the assistant chief
25· ·for the Criminal Investigations Division for the United




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·1· ·States -- Tennessee Valley Authority.· And I worked for
·2· ·them from December 1993 -- December 1993 to December
·3· ·2005.· So we held the roles of both a state-certified
·4· ·police officer or public safety officer.· We were also
·5· ·federal law enforcement agents.
·6· · · · Q· · Okay.
·7· · · · A· · So we had -- go ahead.
·8· · · · Q· · Now, as assistant chief, how many non-arson or
·9· ·non-fire related investigations were you a part of?
10· · · · A· · They were less.
11· · · · Q· · Okay.· Can you approximate what percentile?
12· · · · A· · As part of the organization, we also provided
13· ·assistance to other agencies in fire-related matters,
14· ·fire and explosions.· So I'd say that with the
15· ·assistance as well as the participation, I'd say that
16· ·20 percent or 30 percent of my work involved fire and
17· ·explosions investigations as part of my duties.· The
18· ·rest of my duties, I -- I oversaw major investigations
19· ·involving everything from enforcement of ARPA, which is
20· ·the Archaeological Resources Protection Act.· Archeolo
21· ·-- archaeological sites, if somebody was to disinter a -
22· ·- a indigenous Indian grave site, that was a federal
23· ·violation, and we investigated that all the way to
24· ·computer intrusions.· So one day I could -- could range
25· ·between the areas.· At one time during my -- prior to




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·1· ·becoming the assistant chief, I was -- I oversaw the
·2· ·training that the US TVA Police conducted.· So we sent
·3· ·all of our officers to the Federal Law Enforcement
·4· ·Training Academy in Glynco.· And they received full
·5· ·training, then they came back, and we -- and we carried
·6· ·on that -- that training for them to make sure that they
·7· ·met those things.· A lot of the training I'm imagining
·8· ·you're probably going to ask the question of how much
·9· ·legal training do we have?· An extensive amount of legal
10· ·training.
11· · · · Q· · I was going to actually ask if you had any
12· ·training to become or along the lines of what a police
13· ·detective or law enforcement detective would have
14· ·received?
15· · · · A· · Yes.· In fact, in the Knoxville Police
16· ·Department, our training was divided into police
17· ·officers and police detectives.· So detectives had their
18· ·own formal training that they went through.· And that's
19· ·-- that was not only the training that I received but
20· ·also participated in providing.
21· · · · Q· · And at any time during your tenure in the
22· ·various law enforcement agencies you were a part of, did
23· ·you have the rank or role of being a police detective?
24· · · · A· · No.
25· · · · Q· · Okay.· I'm going to move off of your appendix




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·1· ·B and just ask you a couple of questions about the body
·2· ·of the report now.· The first one was --
·3· · · · · · MR. POLICK:· You want -- do you want to take a
·4· · · ·break, or are you comfortable?
·5· · · · · · MS. GARCIA:· I could take a short break to go
·6· · · ·to the bathroom if you would like, but I also can
·7· · · ·keep on going.
·8· · · · · · MR. POLICK:· Why don't we just take a short
·9· · · ·break, maybe five minutes; is that okay?
10· · · · · · MS. GARCIA:· Perfect.
11· · · · · · MR. POLICK:· Thank you.
12· · · · · · THE WITNESS:· Okay.
13· · · · · · COURT REPORTER:· We're off the record at 10:54.
14· · · · · · · (OFF THE RECORD)
15· · · · · · COURT REPORTER:· We're back on the record at
16· · · ·11:00.
17· ·BY MS. GARCIA:
18· · · · Q· · Mr. Icove, I didn't ask at the beginning, but
19· ·do you prefer to be referred to as Mr. or Dr. Icove?
20· · · · A· · My students call me Dr. Dave if that's what
21· ·you like.
22· · · · Q· · How about I call you Dr. Icove?· It will be a
23· ·compromise between the two.
24· · · · A· · You can just call me Dave if that's okay.
25· · · · Q· · Okay.· Dave, when were you first contacted by




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·1· ·defense counsel about providing expert services for this
·2· ·case?· And just to -- for the record, defense counsel
·3· ·equals Sotos Law Firm.
·4· · · · A· · Just prior to them signing that contract.
·5· · · · Q· · That would that have been in -- I don't have
·6· ·it pulled up in front of me, but I believe that --
·7· · · · A· · It was --
·8· · · · Q· · -- was 2018?
·9· · · · A· · It was July 27, 2018.
10· · · · Q· · Okay.· And had you worked with Sotos before
11· ·you were contacted for work on this case or is this the
12· ·first time you've been retained as an expert for them?
13· · · · A· · This is the first time.
14· · · · Q· · Okay.· And on average, how many expert reports
15· ·do you provide per year?
16· · · · · · MR. POLICK:· Just a small objection -- on that
17· · · ·question.· By provide, do you mean disclose?
18· · · · · · MS. GARCIA:· Yeah.· That's a good
19· · · ·clarification.
20· · · · Q· · On ex -- average, how many expert reports do
21· ·you disclose per year?
22· · · · A· · That -- can I ask for a clarification there,
23· ·meaning the ones that are published --
24· · · · Q· · Yeah.· The ones --
25· · · · A· · -- in reports in -- in -- in the court system




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·1· ·such as PACER?
·2· · · · Q· · I would say ones that are published in a court
·3· ·system such as PACER or that are disclosed from one
·4· ·attorney's side to another attorney's side.· So for an
·5· ·example, your report was disclosed to plaintiffs.· As of
·6· ·now, it's not within PACER because we haven't filed any
·7· ·documents that include your report.· But what I'm asking
·8· ·about is both documents that would be filed in PACER for
·9· ·whatever reason, potentially a Daubert Hearing or
10· ·documents in reports that would be disclosed to the
11· ·other side but not necessarily in PACER.
12· · · · A· · I would have to look back, but it's probably
13· ·on an average year five or less.
14· · · · Q· · And what percentage of your income, if you had
15· ·to guess or hypothesize, comes from the expert work --
16· ·and so this is not just reports but expert consultation
17· ·testimony and writing reports per year?
18· · · · A· · Gross or net?
19· · · · Q· · I would say gross.
20· · · · A· · Okay.· I would have to look at my income tax
21· ·returns to -- to get, but I can tell you in net.· As
22· ·with anybody in our professions, COVID had a significant
23· ·impact.· So I had a net loss for the last at least two
24· ·years.
25· · · · Q· · Okay.· I guess prior to COVID, what percentage




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·1· ·net wise of your income would have come from your expert
·2· ·services per year?
·3· · · · A· · Net for my total personal income?
·4· · · · Q· · Yes.
·5· · · · A· · I would have to look at it.· I -- I -- I also
·6· ·have a academic appointment at the university.
·7· · · · Q· · Yes.
·8· · · · A· · And I would have to review my income tax
·9· ·returns to give you that information.
10· · · · Q· · And outside of the -- your income, how -- what
11· ·would be the balance, again, percentagewise or however
12· ·makes sense to you of expert work you do within a
13· ·litigation context versus your appointment within the
14· ·university?
15· · · · A· · I do approximately one day per week on expert
16· ·work, which also includes training, development, writing
17· ·articles and textbooks, and conducting peer reviews of
18· ·cases that are submitted.· So I would say realistically
19· ·eight hours per week.
20· · · · Q· · And is there any aspect of your academic
21· ·appointment that other than obviously your credentials
22· ·and the academic work you do that directly pairs on to
23· ·the expert work that you're providing in a litigation
24· ·context?
25· · · · A· · Yes.




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·1· · · · Q· · Okay.· Can you describe what those would be?
·2· · · · A· · I teach several courses in fire protection
·3· ·engineering and related areas.· One specific course is
·4· ·on forensic engineering.
·5· · · · Q· · Okay.
·6· · · · A· · I also teach for the University of Maryland, a
·7· ·course -- a graduate course entitled, "forensic fire
·8· ·analysis," which is basically a -- a complete review for
·9· ·engineers at the graduate level -- fire protection
10· ·engineers of the Kirk's Fire Investigation textbook.
11· ·It's totally based upon that on that treatise.
12· · · · Q· · And when you are providing expert reports
13· ·specifically, do you typically write reports for civil
14· ·litigants or criminal litigants?
15· · · · A· · A majority are for civil, but in criminal
16· ·litigates, as I mentioned, I do work as of -- on a
17· ·nonpaid basis as a reserve deputy officer for the Knox
18· ·County Sheriff's Office.· So I'll write reports.· In
19· ·cases, I've provided testimony.· I help in preparing
20· ·trial notebooks, as well as -- are called out on death
21· ·investigations, as well as scenes in which the -- it's
22· ·not obvious the origin and cause of the fire.
23· · · · Q· · Okay.· Of the work that the expert reports
24· ·that you provide to litigants, how much would you --
25· ·what percentile, rather, would you say are provided to




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·1· ·your civil litigants versus criminal litigants?
·2· · · · A· · I'd have to take a look.· If you included the
·3· ·work with the Knox County Sheriff's Office, as well as
·4· ·contract work that I've done, for example, with the
·5· ·Texas State Fire Marshal's Office for their Innocence
·6· ·Project, I would say it's either a -- a 80/20 split.
·7· ·80 percent civil, 20 percent criminal.
·8· · · · Q· · Okay.· And of this civil litigants that you
·9· ·write reports for, are they typically for plaintiffs or
10· ·defendants?
11· · · · A· · It is split equally.
12· · · · Q· · And when you provide expert reports for
13· ·plaintiff's side, what are you typically asked to expand
14· ·upon or analyze?· And I understand that it might be a
15· ·broad question, so if you give broad answers, that's
16· ·fine.· And I'll ask any specifics past that.
17· · · · · · MR. POLICK:· I just wanted to interpose an
18· · · ·objection there, David, that you should not get into
19· · · ·any cases where you are consulting at the moment or
20· · · ·-- whether it'd be a plaintiff in civil litigation
21· · · ·or a defendant in civil litigation.· The question
22· · · ·should be limited to those cases where you have
23· · · ·actually been disclosed.
24· · · · A· · An answer to your question, whether it'd be a
25· ·plaintiff or a defendant, I approach all cases with the




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·1· ·same rigor as any other case.· For example, the first
·2· ·thing that I do before even discussing or accepting a
·3· ·case is -- is to do a conflict of -- a conflicts
·4· ·analysis to determine if I have any conflicts of
·5· ·interest regarding those types of cases, whether they be
·6· ·present or previous litigants.· The second thing I do is
·7· ·-- and I ignore -- and the first thing I do is tell
·8· ·potential clients, "Do not tell me your theory about
·9· ·what happens."· I take the approach of saying, "Provide
10· ·me with the information you can if you're going to
11· ·retain me, and I will make a determination as to --
12· ·through peer review of what areas I consider significant
13· ·in a case."· And that's basically a -- a verbal
14· ·approach.· And that is only after I've been retained
15· ·because of the issues of privacy.· I have been retained,
16· ·I believe, by clients that want to make sure that the
17· ·other side doesn't retain me.· And that's a unique
18· ·approach.· But I take all cases and ask for as much data
19· ·as possible to do the review.
20· · · · Q· · Have you ever been retained on a case and
21· ·found that you did not believe -- strike that.· Have you
22· ·ever been retained on a case and had to tell the counsel
23· ·in that case that you could not write a report for them
24· ·that would support their client?
25· · · · · · MR. POLICK:· Objection to the form of the




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·1· · · ·question.
·2· · · · Q· · This would be based on after you've collected
·3· ·the data.· Has there ever been a time when you've seen
·4· ·the data and said, "Oh, the data doesn't support your
·5· ·client and -- so I cannot provide expert consultation or
·6· ·provide an expert report for you"?
·7· · · · · · MR. POLICK:· Same objection as the form, but
·8· · · ·you can go ahead and answer.
·9· · · · A· · Yes.
10· · · · Q· · And approximately how many times would you say
11· ·that's occurred?
12· · · · A· · I don't recall, but it's not frequent.
13· · · · Q· · Okay.· And so along those lines, prior to
14· ·writing the report that was disclosed in this case, did
15· ·the defense counsel ever provide you with a written
16· ·summary that summarized or was a synopsis of the events
17· ·in the case?
18· · · · A· · Yes.
19· · · · Q· · Okay.
20· · · · A· · And can I qualify that?
21· · · · Q· · Sure.
22· · · · A· · The only synopsis I have, basically, are from
23· ·the court filings.· So I actively monitor PACER on any
24· ·federal case that I take, and I read as much of the
25· ·filings as possible.· And that's where I get from




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·1· ·counsel the facts that are ongoing in the case.· And I
·2· ·guess --
·3· · · · Q· · I guess my question is -- sorry, continue.
·4· · · · A· · And I asked for -- before they realized that I
·5· ·have PACER account, I asked for all filings to date, so
·6· ·I don't have to pay for them.
·7· · · · Q· · That's understandable.· I guess my question is
·8· ·a little bit different, which is, did the defense
·9· ·counsel ever provide you with a written summary or
10· ·synopsis of the case that wouldn't have been within one
11· ·of the court filings on PACER?
12· · · · A· · Not in this case.
13· · · · Q· · Okay.· And you mentioned that it's important
14· ·to you to review all the relevant documents in a case
15· ·because it is important to have all the data before you
16· ·make a peer review analysis, correct?
17· · · · A· · To make their final conclusion regarding a
18· ·peer review?
19· · · · Q· · Yes.
20· · · · A· · I'm constantly asking for additional
21· ·information.· For example, I was insistent on getting
22· ·the additional information that Mr. Carpenter had that
23· ·he relied upon in making his conclusions.· And so I'm a
24· ·-- a data-rich person.· I want to get as much
25· ·information as possible from -- from a case.· For




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·1· ·example, I asked for every deposition given.· Every
·2· ·disclosure.· I ask for everything.· And so I can
·3· ·independently review and assess the information that's
·4· ·contained in those documents.
·5· · · · Q· · Were there any documents that you requested
·6· ·from defense that you would have -- for your analysis
·7· ·that you were not able to review or were not given?
·8· · · · A· · From the defense or plaintiff?
·9· · · · Q· · From the defense.
10· · · · A· · I expressed a -- a wish that -- that whether
11· ·or not that the plaintiffs would agree to -- that was
12· ·only really one.· Besides the documents that
13· ·Mr. Carpenter had, the latest -- an inventory.· The
14· ·materials reviewed was that I was missing the fire scene
15· ·videos of the investigators, and just received those and
16· ·found them to be -- didn't -- they did not change my
17· ·opinion, but I found them to be very informative.
18· · · · Q· · And you received those from the defense
19· ·counsel?
20· · · · A· · Yes.
21· · · · Q· · Okay.
22· · · · A· · And I believe that the defense counsel has
23· ·updated my disclosure to reflect that.
24· · · · Q· · And how long did it take you to review all the
25· ·documents and material that was referenced in appendix A




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·1· ·prior to and during, I suppose, the writing of your
·2· ·report?
·3· · · · A· · I believe the best estimate of the number of
·4· ·hours would be the two invoices that I provided.· The
·5· ·number of hours.
·6· · · · Q· · And then I'm going to pull up the invoices and
·7· ·share them on the screen.· And exhibit -- I'll share
·8· ·Exhibit 3, which is the May 2020 invoice, and with the
·9· ·understanding that these are redacted for work product
10· ·privilege reasons.· Does this refresh your recollection
11· ·at all as to the amount of time you spent reviewing the
12· ·documents in this case?
13· · · · A· · That was for the first invoice.
14· · · · Q· · Yes.
15· · · · A· · There's a second invoice.
16· · · · Q· · Okay.· And I can pull that one up as well.· It
17· ·says Exhibit 4, which is the second invoice that was
18· ·dated July of 2021.
19· · · · A· · Yes.
20· · · · Q· · Okay.· So based on your review of those two
21· ·invoices, what would be your best estimate for the
22· ·amount of time you spent reviewing the documents in this
23· ·case?
24· · · · A· · I'm a master of the 80/20 rule, and I would
25· ·estimate that 80 percent of those hours were reviewing




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·1· ·documents.
·2· · · · Q· · And so I guess I'll pull this up again on the
·3· ·screen just for your purposes and for the record.· It
·4· ·appears that the -- and I apologize, I didn't go into a
·5· ·mathematics field because I am not great at math, but it
·6· ·appears the number of hours is -- let's see.· Ten.· 20 -
·7· ·- 26 hours for the first invoice and 30 hours for the
·8· ·second invoice, which would be approximately 56 hours in
·9· ·total that you billed for both the review and the
10· ·writing of the case.· Is 56 hours, give or take, an
11· ·accurate reflection of the amount of time you spent both
12· ·reviewing and writing the report that you disclosed in
13· ·this case?
14· · · · A· · Yes.
15· · · · · · MR. POLICK:· I object to the form of the
16· · · ·question.· I'm not sure if that's an accurate
17· · · ·accounting of all the hours and also object to the
18· · · ·extent that the question attempts to get into
19· · · ·attorney work product or communications with Mr.
20· · · ·Icove.
21· · · · · · MS. GARCIA:· And the objections are noted.                I
22· · · ·would say that my math may be off, but I believe
23· · · ·based on the math that I did that it was around 56
24· · · ·hours or five off a couple hours.· I apologize.· I'm
25· · · ·just trying to get an approximate amount of time




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·1· · · ·that you spent.· I also, per Mr. Icove's request,
·2· · · ·pulling up the invoices to help refresh his
·3· · · ·recollection as to the work he did. So I don't
·4· · · ·believe that there's an issue of work product
·5· · · ·privilege here, but your objection obviously stands.
·6· · · · Q· · Okay.· So going off of the assumption that you
·7· ·spent in and around 56 hours reviewing this -- the
·8· ·documents and writing the report --
·9· · · · A· · Let me clarify.
10· · · · Q· · Yes.
11· · · · A· · Those are actual hours -- desk hours, I would
12· ·say, where I was -- feet were planted, sitting at a desk
13· ·doing a review.· If you are familiar with experts, there
14· ·are experts that have what they call, walking around
15· ·time where they're walking in the park just thinking
16· ·about a case, and this and that.· Some of them bill for
17· ·that.· I don't bill for that.· So this is a -- it's like
18· ·writing music.· You keep it in your head for a while and
19· ·then you'll sit down and write it.· But it's going to
20· ·formulate and germinate in your mind.· So I -- I'm a
21· ·conservative biller, and I only do it for the exact time
22· ·that I'm actually sitting actually reviewing documents.
23· ·So like I said, I don't bill for walking around time.
24· · · · Q· · Okay.
25· · · · A· · And -- okay.· Thank you.




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·1· · · · Q· · Of course.· But going off the assumption that
·2· ·the hours in the invoices are reflective of the sitting
·3· ·down time, which would be the actual reviewing of the
·4· ·document, so reading them, going through them and the
·5· ·writing of the report, then the invoices themselves
·6· ·would be reflective of both the time that you reviewed
·7· ·the documents and wrote the report, correct?
·8· · · · A· · Okay.· And in fact, you're probably going to
·9· ·ask the question, is this typical of the work that I do?
10· ·And it's within the scope of the amount of hours
11· ·typically that I would use in writing a report.
12· · · · Q· · Okay.
13· · · · A· · Reviewing documents and writing a report.
14· · · · Q· · And again, with the understanding that I'm not
15· ·a mathematician, if you spent in and around 56 hours
16· ·reviewing and writing the report, then that would mean
17· ·that you spent about 44, 45 hours reviewing the
18· ·documents, correct?
19· · · · A· · I'd say so, yes.
20· · · · Q· · Okay.· So in those -- does the 45 to -- the 45
21· ·to 46 hours, pair on to what you recall the time you
22· ·spent reviewing the documents outside of the invoices
23· ·themselves as a guidepost?
24· · · · · · MR. POLICK:· Objection to the form of the
25· · · ·question.· You can go ahead and answer it as long as




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·1· · · ·you're not getting into any of attorney work product
·2· · · ·or our communications.
·3· · · · A· · Can you repeat that question, please?
·4· · · · Q· · Yes.· Of course.· I will rephrase it slightly.
·5· ·Going off of the -- your earlier testimony that the
·6· ·invoices are somewhat reflective or are reflective of
·7· ·the time that you spent at the desk writing or reviewing
·8· ·documents, and also your testimony that approximately 80
·9· ·percent of the time formulating a report would be spent
10· ·reviewing those documents, they would come to the figure
11· ·of 45 or 46 hours.· Does -- do 45 or 46 hours, based on
12· ·your recollection of reviewing the documents, pair on to
13· ·the amount of time that you, in your own belief, spent
14· ·reviewing the documents in this case?
15· · · · · · MR. POLICK:· Same objection as to form.· You
16· · · ·may answer.
17· · · · A· · I believe that's a rea -- realistic estimate.
18· · · · Q· · Okay.· Would it be fair to say going off of
19· ·that estimate that you were able to review all the
20· ·material in the six binders that you indicate are in
21· ·front of you within 45 to 46 hours?
22· · · · A· · And additional documents.
23· · · · Q· · But would it be fair to say that you were able
24· ·to review additional documents plus the material that
25· ·are in your six binders within 45 to 46 hours?




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·1· · · · A· · Yes.
·2· · · · Q· · Okay.· And did you write the entirety of the
·3· ·report?
·4· · · · · · MR. POLICK:· I'm objecting and direct the
·5· · · ·witness not to answer that question as it gets into
·6· · · ·the drafting process.
·7· · · · Q· · What portions of the report did you write
·8· ·without any -- did you write independently, Mr. Icove?
·9· · · · · · MR. POLICK:· Same objection to the question as
10· · · ·it goes to the drafting process and direct the
11· · · ·witness not to answer.
12· · · · Q· · Without as -- without going into who drafted
13· ·what, did you independently draft the report that was
14· ·disclosed in this matter?
15· · · · · · MR. POLICK:· Again, I'm going to object on the
16· · · ·grounds that this gets into the drafting process and
17· · · ·also into communications with the expert as well as
18· · · ·to attorney work product and direct the witness not
19· · · ·to answer that question.
20· ·BY MS. GARCIA:
21· · · · Q· · Are you going to take your defense counsel's
22· ·advice and not answer the question as to what parts of
23· ·the report that you drafted specifically, Mr. Icove?
24· · · · A· · Yes.· I am -- I am complying with his
25· ·objections.




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·1· · · · Q· · Did you write any portion of the report
·2· ·independently?
·3· · · · · · MR. POLICK:· Same objection as the question
·4· · · ·goes into the drafting process of the report.· Also
·5· · · ·implicates attorney work product and communications
·6· · · ·with the expert.· So I direct the witness not to
·7· · · ·answer that question.
·8· · · · Q· · Are you going to take your attorney's advice
·9· ·and not answer whether or not you drafted any of the
10· ·report that you disclosed in this matter?
11· · · · A· · Yes, ma'am.
12· · · · Q· · Okay.· Let me take a second to pull up your
13· ·report.· And I wanted to first go to page 28.
14· · · · A· · And that's regarding opinion number 1; is that
15· ·correct?
16· · · · Q· · Yes.· Regarding opinion number 1, and my first
17· ·line of questioning will be about opinion number 1.· But
18· ·actually, prior to getting into the specific details of
19· ·the report, would it be fair to say that you've been
20· ·disclosed as the fire and arson expert in this re -- in
21· ·this matter?
22· · · · A· · I believe so.
23· · · · Q· · Okay.· And would you also believe yourself to
24· ·be an expert in police practices?
25· · · · A· · With regards to conducting fire




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·1· ·investigations, yes.
·2· · · · Q· · Okay.· And would you consider --
·3· · · · A· · And my --
·4· · · · Q· · I'm sorry, continue.
·5· · · · A· · I apologize for interrupting.
·6· · · · Q· · No.· No.· Go ahead.
·7· · · · A· · My expertise and -- is regarding the standards
·8· ·of care for conducting fire investigations and I believe
·9· ·that standards of care cover police practices.
10· · · · Q· · Police practices with regards to fire
11· ·investigations, correct?
12· · · · A· · Fire and law enforcement investigations.
13· · · · Q· · Have you ever been retained to give an expert
14· ·opinion or put together an expert report on the
15· ·standards of care relating to law enforcement
16· ·investigations that do not have anything to do with fire
17· ·or arson?
18· · · · A· · I do not recall.
19· · · · Q· · Okay.· And is that you do not recall, or it
20· ·hasn't occurred?
21· · · · A· · I do not recall having ever been retained.
22· · · · Q· · Okay.· And would it be fair to say that you
23· ·were not a medical expert?
24· · · · A· · I am not a medical expert.· However, I've
25· ·received as well as taught courses in death




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·1· ·investigation for the Federal Bureau of Investigation. I
·2· ·-- I also previously was certified as an emergency
·3· ·medical technician, so I received guidance on that.· And
·4· ·that also, the Society of Fire Protection Engineers have
·5· ·a guidelines for evaluating burn injuries, and that is
·6· ·the forensic engineering aspects of -- of injuries that
·7· ·an individual may sustain for second, third, and fourth
·8· ·degree burn injuries, and what the exposure of the fires
·9· ·-- radiation, or conduction, or convection -- may have
10· ·produced those injuries.
11· · · · Q· · Okay.· Have you ever worked as a medical
12· ·doctor, Mr. Icove?
13· · · · A· · No, ma'am.
14· · · · Q· · Have you ever, other than receiving emergency
15· ·medical technician training, have you ever worked in the
16· ·field as an emergency medical technician?
17· · · · A· · Only -- I was -- worked for the Hyattsville
18· ·Fire Department.· It was -- I lived in their station and
19· ·actively ran calls as an emergency medical technician on
20· ·the fire department, and I was required to have the
21· ·state certification for that along with a firefighter
22· ·certification.
23· · · · Q· · Okay.· Other than working with the
24· ·firefighters' office, and assisting with emergency
25· ·medical technician, and the services they provide, have




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·1· ·you worked in the field as an emergency medical
·2· ·technician?
·3· · · · A· · No.· Besides -- besides that service, no.                I
·4· ·have not.
·5· · · · Q· · Have you ever conducted an autopsy?
·6· · · · A· · I have participated in autopsies.
·7· · · · Q· · Okay.· Have you ever conducted an autopsy?
·8· · · · A· · Not as the primary pathologist, no.
·9· · · · Q· · Okay.
10· · · · A· · I have assisted in autopsies.
11· · · · Q· · And would -- have you received any training or
12· ·certification in pathology?
13· · · · A· · No.
14· · · · Q· · Okay.· And have you ever received any training
15· ·or certification on polygraph?
16· · · · A· · No.
17· · · · Q· · Okay.
18· · · · A· · Let me -- let me rephrase that.· I apologize.
19· ·While employed at the Federal Bureau of Investigation, I
20· ·served on the peer review panel for the research into
21· ·polygraphs.· And that peer review panel was a science
22· ·based multidisciplinary panel.· And I provided feedback
23· ·and guidance regarding the -- the testing and evaluation
24· ·of polygraphs.
25· · · · Q· · Have you ever personally conducted a polygraph




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·1· ·examination?
·2· · · · A· · No.
·3· · · · Q· · Have you ever analyzed a polygraph examination
·4· ·in one of your cases?
·5· · · · A· · No.· However, I have provided questions that
·6· ·the polygrapher should ask the subject.
·7· · · · Q· · Okay.· But more specifically, you've never
·8· ·been asked to or given an analysis of whether an
·9· ·examiner under polygraph has been truthful or
10· ·duplicitous, correct?
11· · · · A· · Can you rephrase that, please?
12· · · · Q· · Sure.· Have you ever been the person -- the
13· ·examiner of a suspect and been tasked with concluding
14· ·whether or not the answers they have given indicate
15· ·truthfulness or deception?
16· · · · A· · So if you asked me, did I look at the tracings
17· ·in making an interpretation from the behavioral
18· ·responses from the tracings?
19· · · · Q· · Yes.
20· · · · A· · No.
21· · · · Q· · Okay.· So turning back to the first section of
22· ·your report, you talk a lot about the scientific method
23· ·and how it relates to fire investigations.· So could you
24· ·please briefly list the steps of the scientific method
25· ·for me?




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·1· · · · A· · Well, the best ones are the ones contained in
·2· ·my report.· If -- in the introduction.
·3· · · · Q· · Be that page 13?
·4· · · · A· · You're right on track, yes.· Page --
·5· · · · Q· · Okay.
·6· · · · A· · This diagram -- figure 1.· The flow chart of
·7· ·the -- outlining the scientific method integral to NFPA
·8· ·921 as it applies to fire scene investigation and
·9· ·reconstruction.· The partner to that is configured to,
10· ·which are the sources of evidence information they may
11· ·contribute to working hypotheses as it applies to fire
12· ·scene investigation and reconstruction.· So when the
13· ·flow chart talks about developing and testing
14· ·hypotheses, these are the hypothesis -- this is the
15· ·information that the hypothesis -- the information and
16· ·data that's used to generate hypotheses.· So the answer
17· ·to your question.· There was basically seven steps.
18· · · · Q· · And those steps would be "recognizing the
19· ·need, defining the problem, collecting data, analyzing
20· ·the data, developing a working hypothesis, testing that
21· ·working hypothesis, and then selecting the final
22· ·hypothesis with the understanding that there may be
23· ·several cycles of testing working hypotheses," correct?
24· · · · A· · Well, when you were reading those off, you may
25· ·not have seen it.· It says in step 5 -- step 6 are




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·1· ·hypotheses.· NFPA 921, for a period of time to solicit a
·2· ·hypothesis, and myself and my co-authors changed that
·3· ·mantra to say that it's correct to say hypotheses, and
·4· ·eventually 921 also changed it.
·5· · · · Q· · And why is it important for -- to say,
·6· ·hypotheses versus hypothesis?
·7· · · · A· · Because, when you're looking at data -- you're
·8· ·collecting data.· One of the things, and it's the last
·9· ·bullet item on there is that -- is assemble historic
10· ·loss histories of similar incidents.· So for example, if
11· ·apartment fires or residential fires -- about a third of
12· ·those fires occur in the kitchen.· But, they may occur
13· ·somewhere else.· So you need to look at the potential
14· ·types of incidents that may occur within a residential
15· ·or a space.· So the loss histories generate hypotheses.
16· ·For example, you know, and there are plenty of examples
17· ·in this case, as well as in others.
18· · · · Q· · And why is it important to, specifically the
19· ·scientific method, to allow for there to be multiple
20· ·hypotheses versus only having one hypothesis that you
21· ·test and come to a conclusion on?
22· · · · A· · The scientific method is an internationally
23· ·accepted standard of care for all sciences, and to
24· ·deviate from that would be considered to be not correct.
25· ·And the best example -- the best example is COVID.· Look




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·1· ·-- look what's happened with COVID.· I mean, how many
·2· ·working hypotheses do we need?· Masks?· No masks?· Two
·3· ·shots?· One shots?· Booster shots?· These are working
·4· ·hypotheses.· This is what we live with, and -- and it
·5· ·shows you that we need to continue to collect data.
·6· · · · Q· · And the scientific method specifically, as you
·7· ·said, is an internationally recognized standard for
·8· ·analyzing data.· But my specific question is, how long
·9· ·has a scientific method been understood to be necessary
10· ·as a methodological tool in analyzing scientific data or
11· ·medical data?
12· · · · A· · I think Sir Francis Bacon started all of this.
13· ·And however, in the -- in the area of fire
14· ·investigation, the message was driven home to me.· While
15· ·I was at the University of Maryland, the first course in
16· ·fire protection engineering dealt with the scientific
17· ·method.· That's how codes and standards are developed,
18· ·and it was our -- as engineers our primary methodology
19· ·for approaching any problem having to do with fires.
20· · · · Q· · And I know on page -- going back on page 28,
21· ·I'll give you a second to flip to that.· You've said
22· ·that the scientific method was not cited in the 1993
23· ·edition of the NFPA 1033.· With that understanding and
24· ·with what you just testified, would it be fair to say
25· ·that even though it wasn't as part of the NFPA 1033




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·1· ·edition in 1993, you -- fire investigators such as
·2· ·yourself still would've been using the scientific method
·3· ·in order to conduct fire investigations?
·4· · · · A· · Yes.
·5· · · · Q· · Okay.· And if a fire investigator did not use
·6· ·the scientific method while testing a hypothesis or
·7· ·conducting a fire investigation, would that support a
·8· ·conclusion that they met the minimum standards of care
·9· ·for fire investigations?
10· · · · A· · As long as they used a similar methodology.
11· ·And for example, there are -- have been arguments of
12· ·whether or not you used NFPA 921 as your guide to
13· ·conduct any investigation.· And it's been upheld in the
14· ·profession that as long as you used a systematic
15· ·technique that embraced the scientific method, that you
16· ·were in good steads.· So just because nobody called it
17· ·the scientific method, it still was the methodology of
18· ·the time period.
19· · · · Q· · So would it be fair to say that to meet the
20· ·minimum standards of care in doing a fire investigation,
21· ·the methodology used to test the data and hypothesis
22· ·would either need to be the scientific method as
23· ·articulated in the report or be of a similar methodology
24· ·as the scientific method articulated in this report?
25· · · · A· · Yes.· As long as it embraced the same -- the




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·1· ·same iterative process, it would be considered of their
·2· ·use.
·3· · · · Q· · And what does the -- what would you consider
·4· ·the iterative process to be that would need to be used
·5· ·for fire investigation?
·6· · · · A· · The same one that's reflected in figure 1.
·7· · · · Q· · Okay.· So that's broadly, you know, collecting
·8· ·data, analyzing it, testing, developing, and testing
·9· ·hypotheses?
10· · · · A· · Yes.
11· · · · Q· · And when conducting a fire investigation, why
12· ·is it important to test various hypotheses regarding the
13· ·cause and origin of the fire?
14· · · · A· · Basically, if -- if you look at the
15· ·methodology, it provides you with evaluations of
16· ·potentially what could have happened such as loss
17· ·histories.· For example, did you -- somebody leave the
18· ·controls on -- on a stove and leave, or did the stove
19· ·malfunction, or other types of factors, or if somebody
20· ·accidentally bumped into the control.· So there's a
21· ·series of things that -- of typical loss histories that
22· ·you need to explore.· So example, you know, a fire, like
23· ·I said if about a third of the fires or maybe higher are
24· ·cooking related.· So it's the loss histories of what was
25· ·going on.· It come down -- it could come down to as




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·1· ·simple as what type of oil were you using to cook French
·2· ·fries, for example.· If they may have different flash
·3· ·points.· They may have different characteristics.· So it
·4· ·comes down to the issue of not only loss histories but
·5· ·also witness recollection.· So if somebody said "I left
·6· ·the stove on," and there was a fire in their apartment
·7· ·and the fire was not in the kitchen, you may be testing
·8· ·the veracity of that witness or their recall.· So the
·9· ·scientific method can be used not only to evaluate
10· ·hypotheses but also look at the credibility of
11· ·witnesses.
12· · · · Q· · And can you this -- define what a loss history
13· ·would be in this context?
14· · · · A· · Say, just like we were talking about food on
15· ·the stove.· Could it be a malfunction of a -- of a knob
16· ·or let's look at an area -- they had coffee makers at
17· ·one time.· Had problems with not shutting off properly
18· ·or not being unplugged.· So some of those were design
19· ·problems. Some of those were the thermal element -- the
20· ·thermal protective element in there -- failed to
21· ·operate.· So just having a fire regarding a -- the
22· ·device such as that, you'd have to take a look at that.
23· ·Other places where they find loss histories are their
24· ·Consumer Product Safety Commission.· So if you have
25· ·something like that.· If they ran the -- the model and




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·1· ·brand, they'd be able to see what the complaints were
·2· ·regarding that coffee maker.· For example, the
·3· ·complaints may be, "I touched it and I got shocked," or
·4· ·this happened or that happened.· So those are loss
·5· ·histories, but the more important thing is if you look
·6· ·on figure 2 on the working hypothesis, that really tells
·7· ·you a little bit more about loss histories.· It talks to
·8· ·you about human behavior, what witnesses are saying,
·9· ·what's the forensic evidence reveal, if there are any
10· ·environmental interactions.· For example, we had a power
11· ·outage yesterday and the dryer stopped working hence and
12· ·my wife didn't realize that there's a thermal reset
13· ·relay.· And the -- and the dryer that after a period of
14· ·time resets itself.· So she was ready to call the
15· ·maintenance folks to come out and fix it.· So when I got
16· ·back and I just looked at it, turned it on, and it
17· ·worked, and I explained to her that that was the -- one
18· ·of the environmental interactions that we have.· Seeing
19· ·assessments, fire testing brings a lot of information
20· ·in.· For example, if you have a device like the coffee
21· ·maker and you decide you are going to try to fail it --
22· ·it could fail -- there's different things you can do to
23· ·it.· And then fire dynamics and modeling come to -- come
24· ·to -- to that area, as well as the professional
25· ·standards that we have.· NFBA 921, for example, has a




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·1· ·whole section on fire modes and effects analysis where
·2· ·they -- one of the examples is a coffee maker.· And --
·3· ·and they come up with the procedures on how to make that
·4· ·evaluation.· So there's a lot that goes into fire and
·5· ·explosion loss histories that degenerate hypotheses that
·6· ·need to be tested.· So I'm always saying I need more
·7· ·data, more data, and constantly searching the
·8· ·literature, looking at what's the -- what the other
·9· ·present expert treatises in the field and take it from
10· ·there.
11· · · · Q· · So would it be important -- sorry, is one of
12· ·the reasons why it's important to test hypotheses in
13· ·fire investigation to determine the possibility of a
14· ·hypothesis that an investigator has come to about the
15· ·cause and origin of the fire?
16· · · · A· · Sometimes it's just plain obvious what
17· ·happened.
18· · · · Q· · And so will hypothesis testing then be
19· ·important to confirm this -- what happened or
20· ·potentially deny a hypothesis of what happened?
21· · · · A· · The best reference, if you look on page 64 of
22· ·my report, and this is language from NFPA 921.· It says,
23· ·"there are times when there's no physical evidence of
24· ·the ignition source found at the origin, but there is an
25· ·ignition sequence that can logically be inferred for




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·1· ·using other data.· Any determination of fire cause
·2· ·should be based on evidence rather than on absence of
·3· ·evidence.· However, there are limited circumstances when
·4· ·the ignition source cannot be identified, but the
·5· ·ignition sequence can logically be inferred.· This
·6· ·inference may be arrived at through the testing of
·7· ·alternative hypotheses involving potential ignition
·8· ·sequences, provided that the conclusion regarding the
·9· ·remaining ignition sequence is consistent with all known
10· ·facts."
11· · · · Q· · Okay.· My question then is that - all right,
12· ·strike that.· Could hypothesis testing, which shows that
13· ·the manner a fire investigator believed caused or
14· ·originated a particular fire -- if that is found to not
15· ·be plausible based on the testing of those
16· ·circumstances, is that evidence that would then be
17· ·utilized and analyzed in determining the overall cause
18· ·and origin of the fire?
19· · · · · · MR. POLICK:· Objection to the form of the
20· · · ·question, but you may answer.
21· · · · A· · Let me beg the question.· In this case, the
22· ·defendants used and explored several hypotheses for this
23· ·fire.· In comparison, your expert honed in on one and
24· ·didn't consider other potential hypotheses.· So I would
25· ·consider that the defendants' investigation was superior




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·1· ·over the plaintiff's investigation regarding the use of
·2· ·the scientific method.
·3· · · · Q· · Okay.· And so going to the defendants' or
·4· ·rather the fire investigators on behalf of Naperville's
·5· ·actions in this case, in what ways was the scientific
·6· ·method adequately used by the Naperville Fire Department
·7· ·or fire investigators?
·8· · · · A· · They did not have a presumption in this case.
·9· ·Your expert had a presumption that all fires are
10· ·accidental.· They exhaustively looked at alternatives.
11· ·They looked at the television set.· They called in
12· ·engineers to assist them.· They also called the state
13· ·fire marshal's office and -- to do an independent peer
14· ·review.· And from the record, it indicates that's
15· ·exactly what he did and that was consistent with what I
16· ·did as a state fire marshal's investigator.· They -- you
17· ·can see through the record that they did not jump to
18· ·conclusions right away, but they looked for other data.
19· ·For example, they exhaustively interviewed your client
20· ·in this case, as well as -- they spent a great deal of
21· ·time doing what we do calling neighborhoods.· Several
22· ·days of knocking on doors, searching out additional
23· ·witnesses in this case just to determine what had
24· ·happened.· Other things that they looked at had to deal
25· ·with burn patterns.· They went through the formal




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·1· ·process of conducting an investigation.· They subpoenaed
·2· ·telephone toll records.· They got -- they came back and
·3· ·re-examined the scene, as well as they did some
·4· ·exhaustive reconstruction dimensionally of what the
·5· ·scene looked like.· They also performed eloquently in
·6· ·reconstructing the scene, where they placed the
·7· ·furniture in their pre-fire positions and looked at
·8· ·that, and -- and conducted the analysis.· They also
·9· ·protected the integrity of the investigation by filming
10· ·with video early on.· And so I got the feeling as if I
11· ·was there.· So I have a very good assessment of what
12· ·happened.· Between the interviews, the peer reviews, and
13· ·-- and the -- and what they had they did not jump to
14· ·conclusions in this case.· They took it all in, as well
15· ·as the fact that they sought out the prosecutor to get
16· ·his important end of this case, and he independently
17· ·reviewed it.· So as far as the exhaustive work that they
18· ·did, they concluded and -- and -- and I believe that
19· ·they uniquely followed the investigation.· And in fact,
20· ·they met all of the professional levels of performance.
21· ·They applied the standard of care.· They met the
22· ·requirements for fire investigations.· They did an
23· ·exhaustive scene exam.· They did an exhaustive
24· ·documentation.· They -- their evidence collection and
25· ·preservation was elegant to the point that they




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·1· ·collected, and it was not required at this time, control
·2· ·samples.· So there were actually samples of materials
·3· ·that may -- may be used later.· And during that time
·4· ·period, 1995, we're talking about some significant
·5· ·investigative work.· They conducted numerous interviews.
·6· ·They did post-incident investigations, as well as their
·7· ·presentations were sound.· There's no doubt in my mind
·8· ·that this is -- that was a very, very thorough
·9· ·investigation and they exploited as much as they could
10· ·-- the scientific method.
11· · · · Q· · Because an investigation is a thorough
12· ·investigation, does that mean it automatically meets
13· ·this minimum standards of care that are required for
14· ·fire investigators?
15· · · · A· · In this case, yes, they met the minimum.
16· · · · Q· · I'm not asking in this case.· I'm asking, does
17· ·a thorough investigation automatically correlate to a
18· ·fire investigator meeting the minimum standards of care
19· ·during their investigation?
20· · · · A· · Yes.
21· · · · Q· · Okay.· And so to -- given a hypothetical that
22· ·a fire investigative team does a thorough investigation
23· ·but fails to adequately test the hypothesis -- the
24· ·hypotheses that are promulgated in their investigation,
25· ·would that still be considered meeting a minimum




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·1· ·standard of care for fire investigations?
·2· · · · A· · Is this a hypothetical question or is this
·3· ·applied to the circumstances in this case?
·4· · · · Q· · This is a hypothetical question.
·5· · · · · · MR. POLICK:· I object to the incomplete
·6· · · ·hypothetical, but you may go ahead and answer the
·7· · · ·question.
·8· · · · A· · I would need more information about the
·9· ·process.· In a hypothetical, I would need a case
10· ·scenario.· I would need basically more data than to make
11· ·a general comment regarding that.
12· · · · Q· · Okay.· So in further hypothetical, if a fire
13· ·investigative team was presented with several plausible
14· ·hypotheses for the cause and origin of a fire and did
15· ·not test those hypotheses, and those hypotheses are
16· ·presented to them during the course of the
17· ·investigation, could that investigation itself still
18· ·meet the minimum standards of care for a fire
19· ·investigator?
20· · · · A· · Yes.
21· · · · Q· · And in what circumstances would that happen?
22· · · · A· · In my personal experience, as well as
23· ·interviewing convicted arsonists in prisons, sometimes,
24· ·individuals who are involved in setting the fire may not
25· ·be open and honest about exactly what happened and may




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·1· ·play upon the fact that this was a mere accident.· And
·2· ·so I have -- in interviewing convicted arsonists, there
·3· ·was a large FBI study on that in the prison interviews,
·4· ·as well as cases that I have worked on personally and --
·5· ·and followed through prosecutions, and with successful
·6· ·convictions that may occur.· There may be a hypothesis
·7· ·that's presented by the suspect or target at the
·8· ·investigation.· It really wasn't exactly what happened.
·9· ·However, they place themselves at the scene.· The origin
10· ·is exactly the way that they indicated and there's a
11· ·plausible explanation for what happened.· So yes, I have
12· ·experienced that and been presented with hypotheses that
13· ·-- alternative hypotheses.· If they're very close, I
14· ·could have explained --
15· · · · Q· · Okay.
16· · · · A· · -- what happened.
17· · · · Q· · And shifting away from a suspect themselves,
18· ·if prior to the end of an investigation, a plausible
19· ·hypothesis about the cause and origin of the fire was
20· ·postulated by someone working on the case, so that would
21· ·be a investigator, should the fire investigators in the
22· ·case per the minimum standards of care articulated by
23· ·the NFPA 921 and 1033, have tested that hypothesis?
24· · · · A· · In presented with cases hypothetically or --
25· · · · Q· · Yes.




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·1· · · · A· · -- actual cases in the past, where somebody
·2· ·has given me an explanation of what they did, the end
·3· ·result was an arson, was an intentionally set an
·4· ·{inaudible} fire.· They se -- set a fire knowing that it
·5· ·was going to create a developing fire.· And the scena --
·6· ·scenario that was given to me didn't meet the testing.
·7· ·And let me give you an example.· A case I've worked once
·8· ·involved a bee laboratory.· Bumblebees.· And the -- the
·9· ·loss was the loss of a $10,000 notebook of original
10· ·data.· How the fire occurred was the janitor said that
11· ·he was smoking some marijuana, and that while he was
12· ·smoking it the seeds must have got into it and started
13· ·exploding.· And he ran to the sink to put it out.· To
14· ·put out his joint.· Along the way he said that flaming
15· ·pieces of the marijuana cigarette dropped in locations
16· ·across the room.· So when I investigated it, I saw that
17· ·the -- that the logbook containing the $10,000 worth of
18· ·data was burned and scourged, and I found other fires
19· ·there.· Now, did I go back and ask my boss, "Oh, by the
20· ·way, I want to go down and buy a nickel bag of marijuana
21· ·and go test this myself," or do I accept the fact that
22· ·this was a implausible hypothesis and that the fires
23· ·were intentionally set by other means?· So that goes
24· ·back to that -- that conclusion that the 921 says that
25· ·basically, there are times when this ignition sequence




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·1· ·-- it is -- no physical evidence is found but an
·2· ·ignition sequence can be logically inferred.· So what do
·3· ·you think?· What would you do in a position like that?
·4· ·How would you test it?
·5· · · · Q· · No.· I --
·6· · · · A· · Would you go and buy some marijuana and then
·7· ·go ahead and say, "Well, if -- if the weeds and seeds
·8· ·went out of there or that they -- if they dropped down,
·9· ·were they a competent ignition source as a ci -- as a
10· ·cigarette might be to papers on a desk"?· No.· I didn't
11· ·test that hypothesis, but I knew that that individual
12· ·had set that fire -- those fires.· I had continuous
13· ·cases over my career where identically, the same
14· ·scenarios are being put forth and the offenders are
15· ·trying to make it look like an accident, when in fact,
16· ·they knew that they set the fire.· So --
17· · · · Q· · But, Dr. Icove, I'm not actually asking --
18· ·again, I'm not asking if a defendant presented this
19· ·evidence.· I'm asking -- and I'm not asking if a
20· ·defendant presented what someone would obviously know
21· ·was an implausible scenario as you said.· I'm asking if
22· ·a person on the investigation that isn't the defendant
23· ·or isn't the suspect rather, gave a plausible hypothesis
24· ·as to the cause and origin of a fire, could they still
25· ·meet the minimum standards of fire investigation as




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·1· ·you've articulated them if they didn't pass that
·2· ·plausible hypothesis?
·3· · · · A· · The answer is yes.· And the examples that I
·4· ·just provided solidly backs up that scenario.
·5· · · · Q· · And would that be a situation in which the
·6· ·outcome of the hypothesis was already known, such as if
·7· ·I lit a candle on fire and then pushed it onto some
·8· ·curtains?
·9· · · · · · MR. POLICK:· I'm going to object to the
10· · · ·incomplete hypothetical, but you may go ahead and
11· · · ·answer it.
12· · · · A· · Like I said, are you talking about a
13· ·hypothetical question or are you talking about this
14· ·case?
15· · · · Q· · I'm talking hypothetically.
16· · · · A· · You would do.· And the standards of care
17· ·involve what we call the Bilancia Matrix, in which
18· ·off-fuel sources and potential ignition sources are
19· ·pairwise compared and eliminated -- exhaustively
20· ·eliminated or included as a potential hypothesis.· So
21· ·that's what fire investigators use now, and they have
22· ·intellectually used in the past.· They've looked at
23· ·everything in the room. They've looked for potential
24· ·candles.· They've looked at -- for curtains, they look
25· ·for this and that.· And then they said, "is it possible




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·1· ·that this candle could have ignited that curtain?"· So
·2· ·what intuitively has been done for years since the --
·3· ·the science of fire investigation is to compare fuel
·4· ·packages such as drapes with ignition sources and say,
·5· ·which one is possible, which one is not possible.· And
·6· ·that is part of the scientific method because this is an
·7· ·exhaustive pairwise comparison of potentials and not
·8· ·potentials for this. So like I said, you have to
·9· ·consider the circumstances. You also have to do a
10· ·thorough fire investigation and look at all the facts
11· ·and circumstances.· So I don't --
12· · · · Q· · So what --
13· · · · A· · -- know if that answers your question.
14· · · · Q· · That does.· So where in the record did the
15· ·fire investigators compare the fuel package in this case
16· ·which would have been a cigarette dropping on a
17· ·newspaper covered in vodka with the ignition source?
18· · · · A· · I believe that when they brought the state
19· ·fire marshal's investigator in.· Did an independent
20· ·review -- that was his conclusion.
21· · · · Q· · Where in the record was that review taken?
22· · · · A· · When -- when we take the next break, I'll go
23· ·ahead and pull it up for you.· Do you want to keep a
24· ·list of questions and I'll -- and during the breaks,
25· ·I'll go ahead and answer them?




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·1· · · · Q· · Well, we could pull up the fire marshal -- we
·2· ·should be able to pull up the fire marshal report in
·3· ·just a second.· I have it on my --
·4· · · · A· · So the experts in your case have pointed to
·5· ·that as the potential ignition area.· So there are
·6· ·numerous experts in this case that have continued to
·7· ·point to where the area and point of origin is.
·8· · · · Q· · And I was specifically referring to the fire
·9· ·investigators in the initial investigation.· I'm not
10· ·talking about the experts that were retained during the
11· ·criminal trial or during the post-conviction
12· ·proceedings.· I'm talking about the fire investigators
13· ·who in this case were Lieutenant Guerreri and
14· ·Mr. Kushner.· Based on your review of their records --
15· ·and of course we can pull those up, where did they
16· ·compare the fuel package in this case with the ignition
17· ·source?
18· · · · A· · They were going on the basis that your client
19· ·was telling the truth, and that the area and point of
20· ·origin matched exactly to what it was.· That was the
21· ·hypothesis that they were looking at.· And
22· ·independently, I've looked at their findings and
23· ·independently confirm that they were right about the
24· ·origin -- area of origin and point of origin.
25· · · · Q· · Okay.




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·1· · · · A· · So --
·2· · · · Q· · And you said the basis was on the fact that
·3· ·the client was telling the truth, but you yourself has
·4· ·test -- have testified that suspects in cases will often
·5· ·lie or obfuscate the truth to make themselves look
·6· ·better or innocent.· So why and how did -- or rather how
·7· ·did Mr. Guerreri and Mr. Kushner meet the minimum
·8· ·standards of care and fire investigation if they simply
·9· ·took the suspect at his word and didn't do any testing
10· ·of the hypothesis?
11· · · · A· · First off, are you implying that your client
12· ·is lying?
13· · · · Q· · I'm implying that -- I'm doing no such thing.
14· ·I'm saying --
15· · · · A· · That -- I believe that's what you're implying
16· ·is that your client told complete lies repeatedly and
17· ·they were consistent with exactly what happened.· It was
18· ·not a fire in a kitchen.
19· · · · Q· · I believe that you're avoiding answering my
20· ·question.
21· · · · A· · I'm --
22· · · · Q· · I did not imply that my client was lying.                I
23· ·said your testimony is that you have dealt with suspects
24· ·in cases who have not told the truth or obfuscated the
25· ·truth in some way, which is why it's important to




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·1· ·undergo rigorous scientific testing on all the data to
·2· ·be sure that any of the plausible hypotheses are being
·3· ·tested as to the origin and cause of a fire, correct?
·4· · · · A· · That's correct.
·5· · · · Q· · And as fire investigators, Mr. Guerreri and
·6· ·Mr. Kushner would have been trained similarly to you,
·7· ·correct?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· So then how can you say -- or can you
10· ·say that Mr. Guerreri and Mr. Kushner met the minimum
11· ·standards of care for fire investigation if they did not
12· ·test the hypothesis that was presented to them both by
13· ·the plaintiff here and also by several of the detectives
14· ·in this case without making sure that, as you said, "The
15· ·fuel package matched the ignition source"?
16· · · · A· · Well, in this case, it did.· If I did --
17· · · · Q· · And what's the evidence that backs that up?
18· · · · A· · We were talking about your client saying that
19· ·he spilled vodka on the newspapers --
20· · · · Q· · Yes.
21· · · · A· · -- on the Sunday edition of the Chicago
22· ·Tribune.· What portion of the papers was it spilled on
23· ·and when he discarded that cigarette, was it on the wet
24· ·portion or the dry portion?· And I believe that
25· ·Detective Guerreri in testimony in court, when posed for




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·1· ·that question said, "Yeah, you know, that -- that was a
·2· ·pote -- that could have been a potential ignition
·3· ·scenario."· And it was in this case.
·4· · · · Q· · And where did Detective -- Lieutenant Guerreri
·5· ·test that?
·6· · · · A· · He -- I don't believe that he tested it.· Of
·7· ·course, I didn't go back on that other case involving
·8· ·the bee laboratory and buy up all that marijuana to do
·9· ·the testing myself.· I knew what was considered to be a
10· ·competent ignition scenario and so did he.
11· · · · Q· · And wha -- how did -- what supports your
12· ·testimony that Mr. Guerreri knew that a lit cigarette on
13· ·vodka-soaked newspaper was a competent ignition source?
14· · · · A· · This is where the data comes in.· This is
15· ·where -- is the science advances itself, as well as back
16· ·in the days when I was in liquor establishments where
17· ·you saw flaming drinks.· You could only imply that
18· ·somehow the flames got there.· So did they miss that
19· ·factor?· No.· But here's what's happened.· The science
20· ·of smoldering fires, which is what this was, has
21· ·advanced so far, that we now have the answers to the
22· ·question from Dr. Vyto Vabrauskas, who just wrote the
23· ·premiere text on smoldering fires and the potential for
24· ·ignition of exactly the scenario we have here.· Minus
25· ·the vodka.




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·1· · · · Q· · What testing, if any, did Detective Guerreri
·2· ·and Mr. Kushner do to confirm that the hypothesis, which
·3· ·was articulated by Mr. Amor, could have come to pass?
·4· · · · A· · The test -- the testing.· I don't believe that
·5· ·they did the testing.· However, there was significant
·6· ·motive in this case that was brought up by the
·7· ·prosecutor in the final interviews of your client.· So
·8· ·not only did your client say that he left the cigarette
·9· ·there, he realized it was -- in -- in one of the
10· ·statements, that it was smoldering, like, Dr. Vabrauskas
11· ·talks about, but also, he left it unattended and left
12· ·the apartment knowing that there was going to be a fire.
13· ·And if you want me to pull from the -- from the district
14· ·attorney's report, established what the motive was.· He
15· ·established that he wanted to cause a fire that would
16· ·destroy enough furniture in the department -- in the
17· ·apartment to go from there.· So investigations deal with
18· ·motive, means, and opportunity.· And that's what you
19· ·have in this case.· All three factors.
20· · · · Q· · And that's all well and good, Dr. Icove.· But
21· ·the fire department and the fire investigators tested --
22· ·did a test burn of the VCR in this case, correct?
23· · · · A· · Uh-huh.
24· · · · Q· · They did a test burn of various other ignition
25· ·sources in this case such as the electrical wiring,




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·1· ·correct?
·2· · · · A· · They looked at -- they examined it, yes.
·3· · · · Q· · Yet despite being presented with the
·4· ·hypothesis that Mr. Amor dropped a cigarette on
·5· ·vodka-soaked newspaper, they did not test on that
·6· ·hypothesis as they did with other hypotheses in the
·7· ·case?
·8· · · · A· · No.· But they exhaustively eliminated all of
·9· ·the potential ignition sources and fuel sources.· It
10· ·came together.· They --
11· · · · Q· · How can you testify that they exhausted --
12· ·they eliminated the ignition sources and fuel sources if
13· ·they did not test the hypothesis articulated by
14· ·Mr. Amor?
15· · · · A· · I don't know what they were thinking.· I can't
16· ·testify this -- about what they were thinking regarding
17· ·this case.· However, let me put it to this way.
18· ·45 years of law enforcement, as well as ten years at the
19· ·-- almost ten years at the FBI, reviewing case
20· ·submittals by local state and international law
21· ·enforcement agencies, of all the cases, the thousands of
22· ·cases that I've reviewed, this case is the most thorough
23· ·investigation that I've ever witnessed in my life. There
24· ·are things that are extraordinary things that these
25· ·investigators did.· So if you want to look at




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·1· ·comparisons and thoroughness for investigations, I can't
·2· ·find another example worldwide that meets this case.
·3· ·They proceeded in doing exactly what they were -- what
·4· ·they were assigned to do, and they believed what your
·5· ·client had to say and took it for face value as well as
·6· ·the fact that he realized that there was a fire -- if we
·7· ·believe what he said, that he realized that there was
·8· ·going to be an ongoing fire.· He saw the smoke and he
·9· ·left it.· I mean, I don't know how much more that you
10· ·need from that, especially from the fact just because
11· ·they didn't realize whether or not at the time, that
12· ·vodka-soaked paper may be a competent ignition scenario,
13· ·but a non-soaked area could be.
14· · · · Q· · And, Dr. Icove, you are aware that Mr. Amor
15· ·has been exonerated of this crime, correct?
16· · · · A· · Yes.
17· · · · Q· · And you are aware --
18· · · · · · MR. POLICK:· Object to the form of -- objection
19· · · ·to the form of that question.· Don't believe that
20· · · ·accurately states the record, but you can go ahead
21· · · ·and answer that.
22· · · · · · MS. GARCIA:· To clarify for the record, the
23· · · ·conviction in this case has been vacated for
24· · · ·Mr. Amor and you are aware --
25· · · · · · MR. POLICK:· Yes.· The record also indicates




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·1· · · ·that Mr. Amor sought a certificate of innocence
·2· · · ·which was denied.· So I think describing that the
·3· · · ·record reflects that Mr. Amor was exonerated is
·4· · · ·incorrect.
·5· · · · · · MS. GARCIA:· And I just clarified, Joseph.
·6· · · ·Thank you.
·7· ·BY MS. GARCIA:
·8· · · · Q· · And you are also aware after reading -- or do
·9· ·you recall from reading Mr. Cross' deposition that
10· ·Mr. Cross did not believe the scenario that Mr. Amor
11· ·suggested of dropping a cigarette on a vodka-soaked
12· ·newspaper would have caused the fire to occur, correct?
13· · · · A· · Can you point me in his deposition where
14· ·you're looking at that?
15· · · · Q· · Sure.· Or potentially -- how about at the
16· ·break, I'll pull it up.· But if I represent to -- I'll
17· ·represent to you that within Mr. Cross' deposition, he
18· ·said that he did not believe the method in which
19· ·Mr. Amor confessed to starting the fire would have
20· ·actually caused the fire at issue.· With all that in
21· ·mind, can you -- is it your testimony here today that
22· ·the Naperville Police Department accurately and
23· ·thoroughly tested all the hypotheses in this fire
24· ·investigation in this case?
25· · · · · · MR. POLICK:· Objection to the form.· But you




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·1· · · ·can go ahead and answer.
·2· · · · A· · I'm testifying that based on today's science
·3· ·for what we know, this -- that hypothesis could have
·4· ·been tested.· However, from what we know now is the
·5· ·propensity for cigarettes to ignite newspaper.· And we
·6· ·also know the latest information regarding smoldering
·7· ·fires.· Am I saying at that time in 1995, did the
·8· ·science exist to replicate or demonstrate these ignition
·9· ·scenarios?· I don't know.· However, what I do know is
10· ·what the science says today and -- and I'm applying that
11· ·to the facts of this case.
12· · · · Q· · And you were a fire investigator in 1995,
13· ·correct?
14· · · · A· · I was employed at that time.· In '95 I was a
15· ·-- a federal agent.
16· · · · Q· · Okay.· But prior to being a federal agent, you
17· ·had been a fire investigator for several law enforcement
18· ·agencies, correct?
19· · · · A· · Yes.
20· · · · Q· · Okay.· And during your tenure as a fire
21· ·investigator, you would have had to test and investigate
22· ·fire and ignition sources, correct?
23· · · · A· · Yes.
24· · · · Q· · So you would have some -- would it be fair to
25· ·say you would have some understanding of what the fire




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·1· ·science would have been in 1995 with regards to
·2· ·competent ignition sources?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· And so I'll ask it in a slightly
·5· ·different way.· Was, in 1995, the hypothesis that
·6· ·Mr. Amor dropped a lit cigarette on a vodka-soaked
·7· ·newspaper which caused it to ignite, a plausible
·8· ·hypothesis?
·9· · · · A· · Yes.
10· · · · Q· · Was it a testable hypothesis?
11· · · · A· · Yes.
12· · · · Q· · Was it a hypothesis known to investigators
13· ·both before Mr. Amor confessed and after Mr. Amor
14· ·confessed?
15· · · · A· · I don't know.
16· · · · Q· · Okay.· Regardless, was there anything that
17· ·would have prevented investigators from testing this
18· ·hypothesis?
19· · · · A· · No.
20· · · · Q· · Was it -- would it have been in an unduly
21· ·burdensome hypothesis to test?
22· · · · A· · If it was, I was concerned that your expert
23· ·did not test it and he had plenty of the capabilities.
24· ·He's got a large engineering firm with all the test
25· ·equipment.· He didn't even pursue that.




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·1· · · · Q· · My question is not about my expert.· My
·2· ·question is about whether or not it would have been duly
·3· ·burdensome for these fire investigators, given the fact
·4· ·that they test -- did other fire hypotheses, to test the
·5· ·one that was presented by Mr. Amor?
·6· · · · A· · They could have tested it, yes.
·7· · · · Q· · Okay.· And so given the fact that the -- it
·8· ·was a testable hypothesis, that they tested other
·9· ·hypothesis and it was a hypothesis known to the
10· ·investigators, can you really say that the minimum
11· ·standards of care for fire investigations were met even
12· ·though they failed to test the hypothesis either during
13· ·the investigation or during the post-investigation
14· ·proceedings?
15· · · · A· · I believe based on the totality of their
16· ·investigation, that they met or exceeded the standards
17· ·of care for fire investigation.
18· · · · Q· · And you believe that despite the fact that
19· ·they didn't do this testing?
20· · · · A· · The same reason that I didn't buy the
21· ·marijuana and test the -- test that hypothesis in that
22· ·bee laboratory.
23· · · · Q· · Is that a yes or a no?
24· · · · A· · That's a qualified response.
25· · · · Q· · Okay.· I wanted to go to the page 32 of your




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·1· ·report.· So that's Exhibit 1 under the prong -- the
·2· ·post-incident investigation where it says, "Evaluation
·3· ·of the investigative file."· And specifically, that
·4· ·paragraph says, "If evidence exists that investigators
·5· ·documented and reviewed their files for potential
·6· ·motives, opinions of witnesses, and responsibility for
·7· ·the fire."· And we understand that you may not recall
·8· ·off the top of your head, what evidence existed that the
·9· ·investigators actually did document and review their
10· ·files for the motives and opinions of witnesses and
11· ·responsibility for the fire that you indicated here?
12· · · · A· · There are ample.· There are ample areas of
13· ·documentation that existed and if you look between that
14· ·one range I gave as an example, of -- of 5141, 5142, but
15· ·there are numerous examples throughout this
16· ·investigation where they were testing these hypotheses,
17· ·including motive.· So also, they had the -- if you want,
18· ·during the break, I will go ahead and pull the ones
19· ·where I -- where I said they -- they looked for motives,
20· ·they looked for the opinions of witnesses and the
21· ·responsibility, which includes the -- the prosecutor's
22· ·interview.· The prosecutor's interview pretty much
23· ·addresses motive and responsibility.· So that alone is
24· ·one of the best pieces of evidence.· And the
25· ·investigators were present for that interview.




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·1· · · · Q· · And moving on to -- con -- sorry, continue.
·2· · · · A· · They did an exhaustive -- I mean, the testing.
·3· ·Guerreri did an excellent comprehensive report and they
·4· ·did not jump to conclusions right off the bat.· This was
·5· ·not a rush to judgment type case.· So for example,
·6· ·motive and opportunity, if you look on page 33, Ms. Amor
·7· ·told investigator Michael Cross that she "felt that Bill
·8· ·was probably responsible for the fire."· I mean, why
·9· ·would she say that?· Also, there were some other things
10· ·that were going on regarding other financial
11· ·circumstances in their life.· The -- the fact that he
12· ·owed restitution.· He was on probation.· And statements
13· ·are consistent throughout the -- throughout the
14· ·investigation that he said that he intentionally dropped
15· ·a lit cigarette onto a newspaper, witnessed the
16· ·smoldering, and left the apartment knowing that a fire
17· ·would ensue.· And he admitted that he set the fire to
18· ·profit by collecting insurance and that he had
19· ·previously devised his plan while he was incarcerated in
20· ·the DuPage County Jail.· I don't -- you know, I don't
21· ·know how much thorough an investigation like this could
22· ·have been, as well as the fact that in his -- your
23· ·client's defense, it did an exhaustive -- an exhaustive
24· ·review of potential witnesses in the area.· So I don't
25· ·know.· I mean, like I said, the -- they attended the




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·1· ·autopsies, they did -- they did as much as possible in
·2· ·this case.· So I don't know what better areas to can --
·3· ·that can come about.· And like I said, 921 says,
·4· ·basically, there are times where there's no physical
·5· ·evidence, but you can imply an ignition sequence.· And
·6· ·this is what happened.· And this is what -- this is what
·7· ·Vyto Vabrauskas is saying.
·8· · · · Q· · A -- ex -- stop -- putting aside Vabrauskas'
·9· ·report, which you've said is -- would not have been
10· ·available to investigators in 1995 --
11· · · · A· · It's available now.
12· · · · Q· · I know.· but we're focusing on what the
13· ·investigators could have done at the time, not on the
14· ·science as it exists currently.· And would you -- does
15· ·your statement that this was, you know, a thoroughly
16· ·exhaustive investigation, logically -- strike that.· You
17· ·testified that this was a very thorough investigation,
18· ·yet the fire investigators failed to test a plausible
19· ·hypothesis that was articulated by Mr. Amor, correct?
20· · · · · · MR. POLICK:· Objection.· Asked and answered.
21· · · ·You can answer again.
22· · · · A· · What I thought was unique in this case was the
23· ·time frame.· And I know that the state looked at the
24· ·time frame, as well as your expert looked at the time
25· ·frame from smoldering ignition to the time of the 911




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·1· ·call.· And that is information that only recently comes
·2· ·to light based on peer-reviewed studies regarding this
·3· ·time frame.
·4· · · · Q· · And wouldn't a test burn, that tested the
·5· ·hypothesis that Mr. Amor articulated have also shown
·6· ·whether or not the time frame of the fire was -- could
·7· ·have been -- could have occurred had the hi -- the
·8· ·scenario that Mr. Amor confessed to been carried out?
·9· · · · A· · At that time --
10· · · · · · MR. POLICK:· Let me interpose an objection to
11· · · ·the form of that question.· You can go ahead and
12· · · ·answer it.
13· · · · A· · At that time, there was a lot we were learning
14· ·regarding cigarette ignitions.· And at that time, there
15· ·may not have been sufficient peer-reviewed data to put
16· ·an appropriate timeline.· However, the data exists now.
17· · · · Q· · Wouldn't one way to find that data be testing
18· ·the hypothesis?
19· · · · A· · I've tested it.· So, however, the way --
20· · · · Q· · So that would be yes?· I just want, for the
21· ·record, that would be yes.· That would be a way to test
22· ·the hypothesis.
23· · · · A· · It would be one way, but the question would
24· ·be, is it -- does it meet the scientific rigor of what
25· ·was going on?· But we already knew -- everybody knew




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·1· ·that if you lift -- let -- left a lit cigarette in a
·2· ·garbage can in contact with paper that you're going to
·3· ·have a fire.
·4· · · · Q· · Okay.· And where -- what evidence or data or
·5· ·peer-reviewed studies existed in 1995 that would have
·6· ·supported a hypothesis that a lit cigarette could have
·7· ·started a fire if it dropped on a vodka-soaked
·8· ·newspaper?
·9· · · · A· · I know of no studies.
10· · · · Q· · Okay.
11· · · · A· · At that time.
12· · · · Q· · Okay.· Moving on --
13· · · · A· · However -- however the significance of flaming
14· ·drinks in bars can only imply that somehow those drinks
15· ·are set on fire and sustain combustion.
16· · · · Q· · And how is that significant?· For me, it seems
17· ·completely irri -- unrelated if a drink at a bar that's
18· ·set on fire can sustain combustion versus whether a
19· ·vodka-soaked newspaper can support combustion.· How do
20· ·those pair on together, in your expert opinion?
21· · · · A· · Well, let me pose the question: What if your
22· ·client did not spill vodka on the newspapers?
23· · · · Q· · And where is the evidence for that?
24· · · · A· · Well, the only evidence is the eyewitness
25· ·evidence of your client.




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·1· · · · Q· · So is there any evidence that exists in the
·2· ·record that my client dropped a lit cigarette on a non-
·3· ·vodka-soaked newspaper?
·4· · · · A· · Well, I would have to review to see whether or
·5· ·not that evidence was tested for an accelerant.· Vodka
·6· ·would probably not survive if it did based on the amount
·7· ·of water.· But if -- there are two scenarios.· The vodka
·8· ·didn't touch the newspaper and where the cigarette
·9· ·landed, or it wasn't on there to begin with, or it
10· ·missed it.· All the record shows is that there are two,
11· ·basically -- there are multiple scenarios in which the
12· ·same scenario happens.
13· · · · Q· · I'm sorry, I'm not sure if I understand what
14· ·you're saying.· Is there any evidence in the record that
15· ·shows my client dropped a lit cigarette on a portion of
16· ·the newspaper that wasn't soaked with vodka?· Yes or no?
17· · · · A· · Not at this time.· More data might reveal it
18· ·though.
19· · · · Q· · And what -- how would that data be -- could
20· ·that data be come upon?
21· · · · A· · Well, in this case, I'd like to re-interview
22· ·all of the experts for the defense -- of the defendants.
23· ·I'd like to re-interview all of the experts that were
24· ·used or retained or not retained for the plaintiffs. And
25· ·then I like about two or three hours with your client,




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·1· ·and we might be able to get additional data to clarify
·2· ·this.
·3· · · · Q· · And did you ever seek to re-interview any of
·4· ·the defen -- the experts for the defense?
·5· · · · A· · No.
·6· · · · Q· · Did you ever seek to interview any of the
·7· ·experts for the plaintiff either in the post-conviction
·8· ·proceedings or in this civil trial?
·9· · · · A· · That was outside the scope of how -- why I was
10· ·retained.· I was retained to do a peer review of the
11· ·investigation, but we have adequate documentation from
12· ·the experts that have talked about what they have.
13· · · · Q· · Sorry, just to back up.· You said it's outside
14· ·the scope of you -- what you were retained to do.· You
15· ·said that the scope of what you were retained to do is
16· ·conduct a peer review of Mr. Carpenter's report,
17· ·correct?
18· · · · A· · No.· Mine was to do a peer review of the
19· ·overall investigation.
20· · · · Q· · Okay.
21· · · · A· · Both plaintiffs and the defendants.
22· · · · Q· · And where, within that peer review, would be
23· ·conducting an investigation into the cause and origin of
24· ·the fire?
25· · · · A· · What I did using the tools and the sufficient




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·1· ·amount of photographs that independently, I can identify
·2· ·not only the area of origin, but what I believed to be
·3· ·the point of origin for this fire.· And it's through an
·4· ·exhaustive re-examination of the photographs, prior
·5· ·testing that I have done, and documentation at the scene
·6· ·and observations that validate that this is exactly the
·7· ·area where the newspapers were that the fire started.
·8· · · · Q· · Okay.· And so you can -- you've investigated
·9· ·and made a postulation based on the origin of the fire,
10· ·but what data or analysis have you done to determine the
11· ·cause of the fire, if any at all?
12· · · · A· · What I've --
13· · · · · · MR. POLICK:· Objection to the -- hang on a
14· · · ·minute.· Objection to the form of that question.
15· · · ·Are you asking him outside of his report?· Because
16· · · ·that is documented in his report.
17· · · · · · MS. GARCIA:· No.· I'm asking --
18· · · · · · MR. POLICK:· It's his third opinion.
19· · · · · · MS. GARCIA:· -- him in terms of his report.
20· · · · · · ·His third opinion, in my view, is that this is
21· ·where the origin of the fire was and this may have been
22· ·what the cause of the fire was, namely dropping a
23· ·cigarette on a newspaper that didn't have vodka on it.
24· ·My question within that opinion is: What data or
25· ·evidence supports his hypothesis as to the cause of the




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·1· ·fire.
·2· · · · · · THE WITNESS:· Okay.
·3· · · · · · MR. POLICK:· Do you understand that question?
·4· · · · · · THE WITNESS:· Oh, I understand it exactly. That
·5· · · ·question.
·6· · · · · · MR. POLICK:· All right.· Why don't you go ahead
·7· · · ·and answer that question then?
·8· · · · A· · If we look at Dr. Dahan's (phonetic) report
·9· ·from August 31, 2016, the next to last paragraph says,
10· ·and this is a time issue that we have because of the
11· ·time that apparently elapsed, and he's got 20 minutes
12· ·between Tina Amor leaving and Ms. -- Ms. Ellie
13· ·discovering the fire, the unidentified origin and fuel
14· ·involved and the human factors involved in the detection
15· ·of small smoldering fires, the possibility of a ign --
16· ·cigarette-ignited fire cannot be completely eliminated.
17· ·What Dr. Dahan didn't have at the time is what we have
18· ·as new data.
19· ·BY MS. GARCIA:
20· · · · Q· · What is this new data?
21· · · · A· · This new data is what's produced by -- and I
22· ·documented in my report -- it references, basically, Dr.
23· ·Vabrauskas' new information.· Basically --
24· · · · Q· · And what is Dr. Vabrauskas' new information?
25· · · · A· · Okay.· What time do you think that the Amors




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·1· ·left?· Was it between 6:20 and 6:35 p.m.?· What --
·2· ·what's your recollection of that?
·3· · · · Q· · I mean, we're not here to ask -- to go over my
·4· ·recollection.
·5· · · · · · MR. POLICK:· Just answer counsel's question.
·6· · · · Q· · It's based on your recollection, Mr. Icove.
·7· · · · A· · The research shows that cigarette ignition of
·8· ·paper normally occurs within a window of -- and Dr.
·9· ·Vabrauskas says 15 to 20 minutes, based on his overall
10· ·review of peer-reviewed research from several sources. A
11· ·guy named Sanderson said it was between 14 and 18
12· ·minutes.· Lord and Gehman (phonetic) who -- who we're
13· ·looking at it, looked from 1.1 minutes to 16 minutes and
14· ·they -- and they basically -- the -- the transition was
15· ·6.2 minutes.· And -- oh yeah, there was a German study.
16· ·It's the German study that's, basically, is anywhere
17· ·from -- and this is cigarette ignition of paper,
18· ·combustibles and --
19· · · · Q· · And what paper combustibles were tested?· Was
20· ·a newspaper tested?
21· · · · A· · That's basically paper.· Paper is paper.
22· · · · Q· · I'm not asking if it's basically paper.· Is --
23· ·are the chemical compositions of newspaper and paper the
24· ·same?
25· · · · A· · Basically, they are.




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·1· · · · Q· · Basically they are or they are?
·2· · · · A· · They are.· They're -- basically they are.                I
·3· ·mean, waxed paper may have wax.· We're talking about
·4· ·standard paper.
·5· · · · Q· · So within the Vabrauskas report or other
·6· ·reports that he cites, you can't point to a test
·7· ·scenario that was a dropped cigarette onto newspaper
·8· ·specifically?
·9· · · · A· · Well, Lord and Gehman studied cigarette --
10· ·cigarette ignitions of diverse paper goods.
11· · · · Q· · And does Lord -- sorry, continue.· I didn't
12· ·mean to interrupt you.
13· · · · A· · Lord and Gehman looked at diverse papers.
14· · · · Q· · And do those papers, based on your review of
15· ·Lord and Gehman studies include newspaper?
16· · · · A· · The implication was is that they do.
17· · · · Q· · I'm not asking about the implication, I'm
18· ·asking if the data and the analysis from Lord and Gehman
19· ·-- I apologize if I'm saying that incorrectly --
20· ·included the dropping of a cigarette onto newspaper,
21· ·specifically.
22· · · · A· · I would have to go back, pull the study and --
23· ·and take a look at it.· But they were -- they were
24· ·looking at it -- a whole series of different papers.
25· · · · Q· · Well, and, Mr. Icove, you've testified and




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·1· ·written about the importance of having as much data as
·2· ·possible in testing a hypothesis, correct?
·3· · · · A· · Yes.
·4· · · · Q· · So couldn't the type of paper and the
·5· ·variables in how paper burns cause there to be a
·6· ·different outcome of one paper that was hypothetically
·7· ·lit by a cigarette versus another type of paper that was
·8· ·lit by a cigarette?
·9· · · · A· · That's a good question.
10· · · · Q· · Is it a question, yes or no?· Based on your
11· ·expertise?
12· · · · A· · Well, based on the expertise, a range of paper
13· ·goods -- what we're talking about, independent studies
14· ·that are looking at the range of paper are basically
15· ·placing a scenario within the fact pattern of this case.
16· · · · Q· · And I'm not asking -- basically, I'm asking if
17· ·the -- this fact scenario specifically pairs onto this
18· ·Vabrauskas and Lord and Gehman and other and you were --
19· ·analysis that's done on cigarettes lighting newspap --
20· ·papers on fire, fits specifically with our fact scenario
21· ·here?
22· · · · A· · Well, your fact scenario has to deal with
23· ·furniture ignition.· Your expert looks at that.· Now I
24· ·agree with some of the things that he has to say.
25· · · · Q· · What do you -- no.· I would prefer to stay on




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·1· ·this topic for now.
·2· · · · A· · Yeah.· I'm just reporting what Vabrauskas has
·3· ·to say.
·4· · · · Q· · Okay.· So --
·5· · · · A· · And -- and I can -- and if you want me to, I
·6· ·can pull the studies.· But -- but -- and -- and we're
·7· ·looking at a range of paper goods.· Now, look at the --
·8· ·the Chicago Trib.· It may have sections that are --
·9· ·advertising sections that are different diverse papers.
10· ·The comics may be different.· The advertisements may be
11· ·different, but we're talking about a general range of
12· ·ignition for these tests.
13· · · · Q· · But aren't --
14· · · · A· · And the point --
15· · · · Q· · -- you proving your own point in that there
16· ·are various scenarios of a cigarette being dropped onto
17· ·a type of paper that has not specifically been tested by
18· ·any of the more current literature that you've cited in
19· ·your report?
20· · · · A· · This is the best it gets.· They're -- they're
21· ·looking at the ranges and this is what -- this is
22· ·science.· This is like COVID.· The more data we get, the
23· ·better we're getting at making these assertations.
24· ·However --
25· · · · Q· · And wouldn't more data include actually




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·1· ·testing what the ignition -- what happens if you drop a
·2· ·cigarette on newspaper specifically?
·3· · · · A· · Oh, yeah.
·4· · · · Q· · Okay.· And so doesn't that conflict with your
·5· ·testimony that this is as -- the best it gets in terms
·6· ·of testing what would occur if a cigarette is dropped on
·7· ·newspaper?
·8· · · · · · MR. POLICK:· Objection to the form of the
·9· · · ·question.· You can answer over the objection.
10· · · · A· · Okay.· I think -- I think we're going astray
11· ·to what -- my retention in this case, was to conduct a
12· ·fire engineering analysis peer review of the totality of
13· ·the investigations done here.· And to -- and I was able
14· ·to, based on my independent examination using a -- using
15· ·the accepted principles of fire investigation, to
16· ·identify what I considered to be the area of origin for
17· ·the fire.· The area of origin is consistent from where
18· ·the newspapers were sitting and -- and where Mr. Amor
19· ·indicated that he dropped a cigarette.· It's consistent
20· ·also with the timing scenario when you're looking at
21· ·burning papers.· And it's consistent with the -- the
22· ·fact that it's a smoldering fire.· I agree with that.                 I
23· ·agree with your expert, Mr. Carpenter, who said that the
24· ·smoldering fire was caused by a cigarette, and he bases
25· ·it on his timeline.· I'm looking at the same timeline




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·1· ·and saying Dr. Vabrauskas' research of looking at 15 to
·2· ·20 minutes fits within the scenario here of where -- of
·3· ·when the Amors left the apartment and when the fire is
·4· ·first reported.· And so the timelines are -- are there.
·5· ·I also agree with Mr. Carpenter that the fire was
·6· ·ventilation limited.· It produced sufficient amounts of
·7· ·carbon monoxide and that Marianne basically died from
·8· ·the intake -- intake of that carbon monoxide.· So I'm
·9· ·not here to argue about your expert and what his
10· ·findings are.· I'm saying that this is consistent with
11· ·the findings of Dr. Vabrauskas that fits like a glove as
12· ·far as the determination of what happened here.
13· · · · Q· · And how does it fit like a glove if
14· ·Dr. Vabrauskas did not test scenario that you
15· ·hypothesized could have happened in your report?
16· · · · A· · He is not testing it if he's reporting on the
17· ·factors regarding cigarette ignition.
18· · · · Q· · And those are --
19· · · · A· · He --
20· · · · Q· · -- based on laboratory studies, correct?
21· · · · A· · Based on laboratory peer-reviewed studies.
22· · · · Q· · Okay.· So how does Dr. Vabrauskas' report of
23· ·those studies fit like a glove if the exact back
24· ·scenario that is being discussed here that you actually
25· ·hypothesized that it could have been dropped on a non-




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·1· ·vodka-soaked part of the newspaper has not specifically
·2· ·been tested?
·3· · · · A· · I was not retained to do the testing.
·4· · · · Q· · I am not asking if you were retained.· I'm --
·5· ·you postulated in your report --
·6· · · · A· · Uh-huh.
·7· · · · Q· · -- "Mr. Carpenter, for example, does not
·8· ·examine the impact of a cigarette being placed on one of
·9· ·the drier portions of the newspaper.· This is a
10· ·realistic and competent ignition source, and the
11· ·resulting scenario could ignite a fire in that exact
12· ·area of origin."· You would then later say, "In the
13· ·scenario of a dropped cigarette onto newspaper -- the
14· ·scenario of a dropped cigarette onto newspaper is a
15· ·competent ignition source and sequence," and then cite
16· ·the Dr. Vabrauskas' report about cigarettes being placed
17· ·on paper goods.· So I -- the reason I'm asking this is
18· ·not because I'm trying to get you to form an opinion on
19· ·something that you haven't --
20· · · · A· · That's -- that's --
21· · · · Q· · -- already hypothesized --
22· · · · · · MR. POLICK:· Let her finish her question,
23· · · ·please.
24· · · · Q· · -- or talked about.· I'm asking you this
25· ·because you, yourself, came up with this hypothesis that




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·1· ·wasn't previously in the record.· And I'm trying to
·2· ·understand whether or not there is data and evidence
·3· ·that back up the hypothesis that you articulated.
·4· · · · · · MR. POLICK:· All right.· I'm go --
·5· · · · Q· · And going off -- sorry.
·6· · · · · · MR. POLICK:· I'm sorry.· Go ahead.
·7· · · · Q· · And going off of that, other than
·8· ·Dr. Vabrauskas' report, did you -- what is the other
·9· ·evidence that supports the hypothesis of the cause in
10· ·the record that you reviewed?
11· · · · · · MR. POLICK:· All right.· Let me interpose an
12· · · ·objection there because that was kind of a long
13· · · ·narrative question and there was probably several
14· · · ·questions in there which makes it compound.· So I'm
15· · · ·objecting to the form.· If you want to break that
16· · · ·down and ask him a question, I think that would be a
17· · · ·more appropriate form here than the narrative that -
18· · · ·-
19· · · · · · MS. GARCIA:· Sure.
20· · · · · · MR. POLICK:· -- you just did.
21· · · · · · MS. GARCIA:· And I wasn't attempting to lead
22· · · ·the witness or provide a narrative.· I was trying to
23· · · ·kind of provide the context because I felt like
24· · · ·Mr. Icove and I were talking past each other.
25· · · · · · MR. POLICK:· Agreed.· And I understand that. So




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·1· · · ·I think the appropriate way to proceed there now is
·2· · · ·just to ask your question which kind of narrows --
·3· · · ·based on now that you've put it into context to ask
·4· · · ·your question.· Do you understand the context that
·5· · · ·Ms. Garcia is talking about, Mr. Icove?
·6· · · · · · THE WITNESS:· Yes.
·7· · · · · · MR. POLICK:· Okay.
·8· · · · · · MS. GARCIA:· Okay.
·9· · · · · · MR. POLICK:· She -- now that he understands the
10· · · ·context, please go ahead and ask a question.
11· ·BY MS. GARCIA:
12· · · · Q· · Yes.· Other than the reports that Dr.
13· ·Vabrauskas put together on the laboratory studies of
14· ·cigarettes being dropped on paper goods, what other
15· ·evidence in the record supports your hypothesis that a
16· ·cigarette being dropped on a non-vodka-soaked newspaper
17· ·could have been the cause of the fire here?
18· · · · A· · Based on fire testing that I've conducted, in
19· ·my experience, this is consistent with the time frame
20· ·for ignition from smoldering to flaming ignition. That's
21· ·based on my testing.· And this was not in laboratory
22· ·conditions, but they were in demonstrations for fire
23· ·investigators.· So the answer is no.· In the record, I
24· ·cannot find any additional information to support that.
25· ·However, the science is evolving, and it begs the




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·1· ·question of who else -- whom else has also done these
·2· ·testing?
·3· · · · Q· · And outside of Dr. Vabrauskas and the other
·4· ·people, I believe Lord and Gehman was one of them that
·5· ·you talked about earlier, do you know of any other
·6· ·investigators or fire experts who have done this -- the
·7· ·testing we're talking about here?
·8· · · · A· · Not at this time.
·9· · · · Q· · Okay.· And this is potentially an obvious
10· ·question, but you did not conduct any modeling of the
11· ·fire based on the hypothesis that it was -- the source
12· ·and the cause of the fire was a cigarette being dropped
13· ·on dry newspaper?
14· · · · A· · I did not conduct a fire model.· I did not --
15· · · · Q· · Okay.
16· · · · A· · -- I did not model this fire.
17· · · · Q· · And to the best of your knowledge, has anybody
18· ·else modeled -- strike that.· That's a bad question.                 I
19· ·wanted to -- and I know we're running out of time, so I
20· ·-- actually, it might make sense for us to take a quick
21· ·break so I can kind of go over the notes I have, and we
22· ·can have a more streamlined conversation before you have
23· ·to depart, Mr. Icove.
24· · · · A· · Thank you.
25· · · · · · COURT REPORTER:· All right.· We are off the




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·1· · · ·record at 1:06.
·2· · · · · · · (OFF THE RECORD)
·3· · · · · · COURT REPORTER:· We are back on the record at
·4· · · ·1:12.
·5· ·BY MS. GARCIA:
·6· · · · Q· · All right.· Mr. Icove, I wanted to first go
·7· ·back to something that we discussed earlier.· I'm not
·8· ·going to ask you again whether or not -- or what
·9· ·portions of this report that you wrote, but my question
10· ·is whether or not you typed any portions of this report?
11· · · · A· · I typed it all.
12· · · · Q· · Okay.· And did you consult on this report with
13· ·anyone other than defense counsel?
14· · · · A· · Yes.
15· · · · Q· · And who did you consult with outside of
16· ·defense counsel?
17· · · · A· · My corporate attorney.
18· · · · Q· · And I won't ask about -- actually, strike
19· ·that.· When -- other than your corporate attorney and
20· ·the defense attorney in this case, was there anyone else
21· ·you consulted on regarding this case?
22· · · · A· · No.
23· · · · Q· · Okay.· And did your corporate attorney draft
24· ·any portions of this report?
25· · · · A· · That's --




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·1· · · · · · MR. POLICK:· I'm going to object to the extent
·2· · · ·that this gets into the drafting process but go
·3· · · ·ahead and answer that question.
·4· · · · A· · My attorney reviewed it for consistency as to
·5· ·the facts provided in this case.
·6· · · · Q· · Okay.· And what is your corporate attorney's
·7· ·name?
·8· · · · A· · Michael Durr, D-U-R-R.
·9· · · · Q· · Okay.· And did you have any -- did you --
10· ·within the process of writing this report, were there
11· ·any notes that you kept?
12· · · · A· · Some -- the notes that I kept, I -- here's the
13· ·-- my drafting process.· I take my notes --
14· · · · · · MR. POLICK:· Wait.· Wait.· Let me stop you
15· · · ·there.· I don't want you to get into the drafting
16· · · ·process because that's -- the drafting process is
17· · · ·protected under Rule 26.· Her question is: Did you
18· · · ·take any notes?· Please answer her questions without
19· · · ·getting into the drafting process.
20· · · · A· · Yes.
21· · · · Q· · Okay.· And are those notes still in your
22· ·possession?
23· · · · A· · Yes.
24· · · · Q· · Okay.· Moving on to the second topic.· And I
25· ·understand we'll have to go through this quickly, so




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·1· ·I'll tailor my questions about Mr. Carpenter's expert
·2· ·investigation.· I wanted to turn to page -- sorry, let
·3· ·me pull it up.· Sorry.· Just give me one second.· I want
·4· ·to make sure I'm getting you the right page.· Page 49.
·5· ·And that's under the subheading of "Failure to account
·6· ·for error rates in the report."· And in the report, you
·7· ·say that Mr. Carpenter used an earlier version of the
·8· ·computer zone known as CFAST and that there is a more
·9· ·current version that is available to analyze the data.
10· ·My question is whether or not the modeling that he used
11· ·or rather the CFAST version that he used had an impact
12· ·in the model itself and whether or not it -- it could
13· ·have caused his hypothesis to be incorrect?
14· · · · · · MR. POLICK:· I'll object to the form.· But you
15· · · ·may go ahead and answer.
16· · · · A· · Mr. Carpenter, in having this model
17· ·constructed, had some significant errors in its
18· ·construction that I estimate without constructing the
19· ·model, impacted this case and his conclusion.
20· · · · Q· · And in what ways do you feel that the modeling
21· ·he used impacted his case in the conclusions?
22· · · · A· · First off, he selected what I believed to be
23· ·the wrong model for this case.
24· · · · Q· · And what model do you feel he -- would've been
25· ·a better model?




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·1· · · · A· · The Fire Dynamics Simulator.
·2· · · · Q· · And why would the Fire Dynamics Simulator be a
·3· ·better model than the CFAST?
·4· · · · A· · It is more accurate as to the modeling the
·5· ·ignition scenarios and it better represents the
·6· ·apartment that's used.
·7· · · · Q· · Okay.· And so do you believe if Mr. Carpenter
·8· ·had used this Fire Dynamic modeling instead of the CFAST
·9· ·modeling, he would have come to a different conclusion
10· ·than he did?
11· · · · · · MR. POLICK:· Objection.· Calls for speculation,
12· · · ·but you may answer over the objection.
13· · · · Q· · Based on your experience, of course.
14· · · · · · MR. POLICK:· Same objection.· That's the
15· · · ·speculation.· You may answer over the objection.
16· · · · A· · One of the significant errors, and on page 44,
17· ·in figure 6, is that when they modeled that fire, they
18· ·left -- left out the kitchen and two bathrooms.
19· · · · Q· · Okay.· So let me just parse up a part of your
20· ·answer for a second.· Is the modeling itself -- is there
21· ·-- and I apologize if I am not asking this correctly
22· ·because I'm not an engineer at all.· But is it the
23· ·modeling itself, CFAST versus this Fire Dynamic model,
24· ·that you believe impacted Mr. Carpenter's results or is
25· ·it the fact that his mo -- his type of model didn't take




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·1· ·into account the kitchen and two bathrooms that you
·2· ·believe impacted Mr. Carpenter's results, or is it a
·3· ·combination of the two?
·4· · · · A· · It's a combination of the two.· One is, if he
·5· ·didn't include the kitchen and two bathrooms in the
·6· ·CFAST model, would he have included them in the Fire
·7· ·Dynamics Simulator model?· And the impact is the fact
·8· ·that when you're looking at -- he was looking at the
·9· ·dispersion of the smoke that contains the carbon
10· ·monoxide, that bathrooms typically have vents in the
11· ·ceiling, and so does a kitchen for the hood to the
12· ·range.· That would have been a logical pathway for smoke
13· ·to be diverted into those areas.· It would have been --
14· ·it would have taken them five minutes more, I estimate,
15· ·to include those rooms. And I don't know if it was an
16· ·oversight or not, but that's a significant problem with
17· ·their case with this oversight.· Also, his model assumes
18· ·that the fire is in the other chair, not the one that's
19· ·close to the sliding glass door, but that chair.· And
20· ·that's based on what he thinks to be the victim's point
21· ·of view.· So he's got the model with the fire starting
22· ·in a different place in the room.· Placement of fires,
23· ·especially in corners, can have a significant impact.
24· ·Now, I have not attempted to fix his errors, but they
25· ·could be remedy.· The other thing is -- is that he




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·1· ·spends a lot of time looking at the relationship between
·2· ·the carboxy hemoglobin level of the 42.1 percent that
·3· ·the victim had and the carbon monoxide.· So he has
·4· ·cobbled together studies, and some of them are dated,
·5· ·where he could've taken the carbon monoxide that
·6· ·degenerated by the CFAST model.· They have an area there
·7· ·where CFAST, that model as well as FDS, will tell you
·8· ·the parts per million of the carbon monoxide.· So he
·9· ·completely left out that impact.· He had that data and
10· ·he could have used that, according to 921, to determine
11· ·time to incapacitation, using what's called the Stewart
12· ·equation and he did not do that.· He also considered the
13· ·ignition source not to be newspapers, but he assumed
14· ·that the cigarette was deposited in the chair.· So he
15· ·went through that scenario, and he used an average of
16· ·several different types of materials in chairs.· What he
17· ·failed to realize was -- is that Mr. Amor readily told
18· ·investigators, as well as put in an affidavit, that the
19· ·furniture that he had was not modern furniture, it was
20· ·hand-me-downs or what I referred to as -- people would
21· ·ask me what style my apartment was decorated in, and
22· ·they'd say what we're in, you know, early American. Mine
23· ·was late and fanny (phonetic).· And that was her
24· ·furniture.· That was the type of -- of -- and those have
25· ·different consistencies as well as the model.· So he has




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·1· ·oversimplified not only the placement of the -- where
·2· ·the fire is, but the materials that it accounted.· So
·3· ·there is a wi -- wide range of different type of data
·4· ·based on the heat release rates of what they had.· Also,
·5· ·if we look at other reports that Mr. Carpenter has done
·6· ·and one that was revealed in this case, he looked at
·7· ·multiple hypotheses in his investigation, an exhaustive
·8· ·number of hypotheses.· In this case, if I were
·9· ·performing an analysis, I would have used at least two
10· ·scenarios.· One by where the newspapers were, and the
11· ·other one is to the chair that he selected to do.· So he
12· ·failed to the -- test the alternative working hypothesis
13· ·in that area.· And that's -- adds error after error
14· ·after error.· The other thing is, he didn't use the
15· ·latest version of CFAST.· I was involved with other fire
16· ·protection engineers and fire scientists in the approval
17· ·of the use of CFAST for the US Department of Energy.· In
18· ·that review, the peer review that I did, I insisted on
19· ·several items to be included.· One was the smoke alarm
20· ·issues; the other thing was leakage factors.· The newest
21· ·version of CFAST has the ability to look at leakage
22· ·factors between rooms, that is plumbing chases and
23· ·things like that, which makes the model more
24· ·authoritative.· And -- and those are some of the -- some
25· ·of the areas that they have.· But I do agree, you know,




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·1· ·like I said, that the -- some of the factors that he's
·2· ·considering did occur in this case.· So the model is
·3· ·incomplete.· The -- the heat release rates for the --
·4· ·for the ignition scenario is based on an average of
·5· ·different types of things.· So you talk about an average
·6· ·of newspapers, he took an average of different types of
·7· ·chairs and -- and the histories that they had.· Also, he
·8· ·failed to update the references that they had and the
·9· ·failure not to use the latest version of the model is --
10· ·I would not have done that.· I would have used the most
11· ·complete version.· And it's about a four, five-year gap
12· ·between the model that he selected to use and the one
13· ·that's in existence now.· And the entire accuracy of
14· ·that model has been increased and enhanced from that. So
15· ·those are some of the error rates that we have.· The
16· ·other error rate is the fact that these models, based on
17· ·the references that I've cited, basically are only good
18· ·for the first possibly five to ten minutes of the fire.
19· ·And past that, the error rates go out the window.· And
20· ·-- and this has been affirmed by studies that I've
21· ·examined personally as well US government standards and
22· ·-- and studies where these error rates are just
23· ·completely off base.· And the reason that -- the -- I
24· ·had mentioned the Dalmarnock fire tests were that the
25· ·experiments and modeling -- the world's experts were




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·1· ·told that they were going to conduct fire tests.· And in
·2· ·England, regarding that, they were given the different
·3· ·types of models.· They were allowed to pick their own
·4· ·models and they coded these things.· And the bottom line
·5· ·was, basically, that the modeling is still a -- not an
·6· ·exact science.· The final part of it is that Vyto
·7· ·Vabrauskas says in the latest book on page 57,
·8· ·implications for computer room fire modeling.· And he
·9· ·states, "Since adequate experimental data do not exist,"
10· ·and that's -- they're looking for the heat release rates
11· ·of smoldering fires, which is what we have in this case,
12· ·"no valid numerical sub-models," and he looks -- he
13· ·lists several of them, "can be utilized as part of a
14· ·computer room fire modeling.· As a result, fire models,
15· ·whether there based on CFT," which is the computational
16· ·fluid dynamics model, "or other times cannot properly
17· ·encompass the smoldering process.· For models to be
18· ·credible, they must be validated against appropriate
19· ·experimental data, and this cannot be done in the
20· ·absence of reliable experimental data, which does not
21· ·exist."· So even Vyto Vabrauskas is saying that it's
22· ·inappropriate to use a model such as this for a
23· ·smoldering fire.· And what that does is it adds a
24· ·cumulative issue for the error rates again, again, and
25· ·again.· And so I don't know how much more that you would




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·1· ·want to explore with this, but I would have wished that
·2· ·in his follow-up report that he had rerun this model, as
·3· ·well as include the impact of the missing rooms that had
·4· ·ventilation paths to them, as well as included the
·5· ·carbon monoxide estimates that are generated as a
·6· ·routine course of this model.· That's what I would've
·7· ·done, and that's what he has done in the past.· In that
·8· ·Oklahoma case -- in the ope -- in the Oklahoma case, he
·9· ·did an extraordinary amount of excellent work.· And I
10· ·know him personally as well as professionally, he does
11· ·good work.· And the Oklahoma case, which is Exhibit 4 in
12· ·his depo, goes to the extent in which he establishes a
13· ·standard of care of how to use a computer fire model in
14· ·a significant investigation.· And he goes through origin
15· ·hypothesis in this case here.· He -- he sets the bar for
16· ·what is expected in a case.· Origin hypothesis testing,
17· ·comparison with the physical fire damage -- thermalon
18· ·injuries he's doing, hypothesis testing is to cover
19· ·monoxide uptake.· Hypothesis to testing of all -- all
20· ·alternative hypotheses.· He did not do this in this
21· ·case.· He did not look at the scenario that your client
22· ·said.· He also looks at CO levels.· This is the -- the
23· ·Oklahoma case -- physical fire damage.· He does an
24· ·extraordinary amount of work in formulating and testing
25· ·hypotheses.· Multiple hypotheses.· And in the past, he's




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·1· ·written articles about comparing and contrasting the
·2· ·two.· NFPA 921 says, "Fire modeling in its own should
·3· ·not be used as the basis for origin determination."· And
·4· ·that's what he's done in this case.· Unfortunately, he
·5· ·didn't -- he didn't follow the same standard of care
·6· ·that he espoused in another similar investigation.· So
·7· ·if that outlines where I think at least what his -- what
·8· ·his performance is on this, I would have expected any
·9· ·expert -- I would have expected would have used the
10· ·present-day model as well as to take into consideration
11· ·all of this information.· The Dalmarnock fire test
12· ·showed varying with the simple model, which was
13· ·consistent with this case, the layout of the apartment.
14· ·They said there was diverse discrepancies about what the
15· ·-- what the experts had to say, and they were shocked.
16· ·They were actually shocked about where you do -- what
17· ·they call verification and validation.· Verify that the
18· ·model works.· The verification in this case should have
19· ·been -- he should have verified that his model works
20· ·with the present model.· And he should've validated it
21· ·based on known data.· So those in a nutshell are the
22· ·reasons why I believed that there is extraordinary error
23· ·rate in his -- in his modeling and his approach in this
24· ·case.
25· · · · Q· · Thank you for that extensive answer.




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·1· ·Dr. Icove, with the mind towards the limited time that
·2· ·you have, I would just like to ask a couple of follow-up
·3· ·questions.· Within your previous answer, you said
·4· ·something to the effect of you did not attempt to fix
·5· ·Mr. Carpenter's -- or at least you did not attempt to
·6· ·fix what you presumed to be Mr. Carpenter's errors in
·7· ·modeling and running a hypothesis of this fire, correct?
·8· · · · A· · That's correct.
·9· · · · Q· · You did not create any modeling in this to
10· ·determine either the cause or origin of his fire,
11· ·correct?
12· · · · · · MR. POLICK:· Objection to the form.· But go.
13· · · ·Answer can stand.
14· · · · Q· · Okay.· And so then you can't say whether
15· ·remedying the errors that you have articulated would
16· ·lead Mr. Carpenter to a different conclusion than the
17· ·one he came to in his report in both the post-conviction
18· ·proceedings and in the civil case at hand, correct?
19· · · · · · MR. POLICK:· I'll object to the form of that
20· · · ·question.· It's compound.· It calls for speculation
21· · · ·and it to some extent is argumentative but go ahead
22· · · ·and answer.
23· · · · A· · Ms. Garcia, are you asking me why I did not
24· ·use a computer fire modeling in this case?
25· · · · Q· · No.· I said because you haven't used one, you




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·1· ·can't say whether, providing the remedies that you
·2· ·articulated very robustly, would lead Mr. Carpenter to a
·3· ·different conclusion than he reached, correct?
·4· · · · · · MR. POLICK:· Same objections.· But you can go
·5· · · ·ahead and answer.
·6· · · · A· · It depends.· This is fire modeling -- computer
·7· ·fire modeling using this model or others.· At this time,
·8· ·it is not appropriate use for determining smoldering
·9· ·fires.· And that's backed up by the authoritative
10· ·research done by Dr. Vyto Vabrauskas, as well as what
11· ·he's concluding in this new expert treatise on
12· ·smoldering fires.· He said, basically, this is an
13· ·inappropriate model.· So no matter what Mr. Carpenter
14· ·does, it's still an inappropriate application.
15· · · · Q· · I'm not asking if it's an inappropriate
16· ·application.· I'm asking specifically, can you say
17· ·whether if, for example, he had used the newer CFAST
18· ·model or for example -- these are all examples you gave
19· ·-- added in the kitchen and the two bathrooms, whether
20· ·or not the conclusion he came to would have been
21· ·different than the conclusion in his initial report?
22· · · · A· · I don't --
23· · · · · · MR. POLICK:· Objection.· It calls for
24· · · ·speculation.· You may go ahead and answer.
25· · · · A· · I don't know at this time.




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·1· · · · Q· · Okay.· So you can't say whether it would, or
·2· ·it wouldn't, correct?
·3· · · · · · MR. POLICK:· Objection.· Calls for speculation.
·4· · · ·Asked and answered.· You may answer again.
·5· · · · A· · I don't know at this time.
·6· · · · Q· · Okay.· And my last question is about
·7· ·Dr. Vabrauskas.· You said that he is -- and I apologize
·8· ·if I'm saying this wrong, but you said something to the
·9· ·effect of he created a treatise about the CFAST fire
10· ·modeling itself, and it's whether or not it would be
11· ·appropriate to be used as a source for modeling fires,
12· ·correct?
13· · · · A· · Correct.
14· · · · Q· · Okay.· Is Dr. Vabrauskas, the only fire expert
15· ·who has given a opinion on whether or not this model is
16· ·appropriate for modeling fires?
17· · · · A· · Let me give you some background.
18· ·Dr. Vabrauskas is the first PhD in fire protection
19· ·engineering.· He was developed -- the first model for
20· ·flash, ever -- computer model.· He's written extensively
21· ·regarding the proper and improper application of
22· ·computer fire modeling in this case.· And I'm saying
23· ·this case, but in -- in -- in this area.· And he's noted
24· ·for the most cited expert treatise in the field is the
25· ·Ignition Handbook.· And the follow up has been just his




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·1· ·evaluation of smoldering fires.· So that is probably the
·2· ·most up-to-date review regarding the science of
·3· ·smoldering fires.
·4· · · · Q· · It's the most up-to-date review, but it's not
·5· ·the only review, correct?
·6· · · · A· · Correct.
·7· · · · Q· · And there are other experts and other
·8· ·treatises that have and maybe used in order to analyze
·9· ·smoldering fires, correct?
10· · · · A· · Correct.
11· · · · · · MS. GARCIA:· Okay.· No further questions.
12· · · · · · · · · CROSS EXAMINATION
13· ·BY MR. POLICK:
14· · · · Q· · I have just a few follow-ups.· Mr. Icove, you
15· ·were asked about notes.· Can you describe what your
16· ·notes are?
17· · · · A· · My notes consist of a file where I write my
18· ·report, address the questions that need to be formulated
19· ·in the report, and it's a ongoing draft.· So for
20· ·example, in the review of the investigation -- the peer
21· ·review -- as I was going through materials, I would add
22· ·the notes that were generated into the report or
23· ·actually bulletize them into sections.· And then as I
24· ·completed that, I passed through that.· For example,
25· ·weather conditions.· I wanted to verify what the weather




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·1· ·was at the time.· So I had a section where I bulleted
·2· ·weather conditions, and then I went and looked it up and
·3· ·then filled in that data for that information.· And then
·4· ·as I went through this, I put together tables like for
·5· ·example page 22.· Everybody has looked at the narrative
·6· ·of the 911 call at 6:40 p.m. I went back through and
·7· ·said this is unique.· So I listened to the -- to the 911
·8· ·call and put on it the actual number of seconds that
·9· ·that call proceeded through.· So now, not only did I
10· ·capture information about the case file -- from the case
11· ·file, but I also added some value to what was happening.
12· ·And I also would put together a timeline.· So in
13· ·summary, I put my case notes into a working file, which
14· ·is my report.· And as new information comes in, I layer
15· ·it into the report, and that's where those notes go. And
16· ·those notes are prompts to expand upon different areas.
17· · · · Q· · Counsel asked you a question about whether
18· ·there was evidence that Mr. Amor had dropped a cigarette
19· ·onto newspaper.· But as part of your materials reviewed
20· ·in this case, did you review a transcript of the audio
21· ·recorded interview of Mr. Amor that was taken by state's
22· ·attorney Brian Nigohosian along with Detectives Guerreri
23· ·and Cross on October 4, 1995, at 5:10 a.m.?
24· · · · A· · Yes.· I did.
25· · · · Q· · And as part of that review of that document,




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·1· ·which for the record is SDT-SAO 3413 through 3420, in
·2· ·that particular interview of Mr. Amor, did he not
·3· ·indicate that he dropped the cigarette onto papers and
·4· ·that he saw smoke?
·5· · · · A· · Yes.
·6· · · · Q· · You were also asked some questions about
·7· ·hypothesis testing.· Can testing always replicate the
·8· ·conditions that existed at the time of the fire?
·9· · · · A· · No.
10· · · · Q· · And when you are determining whether the
11· ·standard is -- of care is met in a certain fire
12· ·investigation, is hypothesis testing the sole aspect of
13· ·the standard of care or does it also include those
14· ·factors, which you have outlined in figures 1 and figure
15· ·2 of your report in this matter?
16· · · · A· · Yes.
17· · · · Q· · So for clarification, would the standard of
18· ·care analysis also include looking at witness'
19· ·statements and human behavior as outlined in figure 2?
20· · · · A· · Yes.
21· · · · Q· · And would it include the other factors that
22· ·you have documented in figure 2 of your report?
23· · · · A· · Yes.
24· · · · Q· · And would it include those items that are set
25· ·forth in figure 1 of your report as well?




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·1· · A· · Yes.
·2· · · · MR. POLICK:· Okay.· I don't have any further
·3· ·questions.
·4· · · · MS. GARCIA:· I don't have any follow-up
·5· ·questions.· Thank you, Mr. Icove.· Joe, do you want
·6· ·to explain reserving signature, though, I'm sure you
·7· ·--
·8· · · · MR. POLICK:· No.· We will reserve signature.
·9· · · · COURT REPORTER:· All right.
10· · · · MR. POLICK:· Thank you.
11· · · · COURT REPORTER:· All right.· We're off the
12· ·record at 1:48 and this concludes today's
13· ·deposition.
14· · · · · (DEPOSITION CONCLUDED AT 1:48 P.M.)
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·1· · · · · · · · · ·CERTIFICATE OF REPORTER
·2· · · · · · · ·COMMONWEALTH OF KENTUCKY AT LARGE
·3
·4· ·I do hereby certify that the witness in the foregoing
·5· ·transcript was taken on the date, and at the time and
·6· ·place set out on the Stipulation page hereof, by me
·7· ·after first being duly sworn to testify the truth, the
·8· ·whole truth, and nothing but the truth; and that the
·9· ·said matter was recorded by me and then reduced to
10· ·typewritten form under my direction, and constitutes a
11· ·true record of the transcript as taken, all to the best
12· ·of my skill and ability. I certify that I am not a
13· ·relative or employee of either counsel and that I am in
14· ·no way interested financially, directly or indirectly,
15· ·in this action.
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22· ·LEAH SHARP
23· ·COURT REPORTER/NOTARY
24· ·MY COMMISSION EXPIRES: 11/01/2023
25· ·SUBMITTED ON:· 08/26/2021
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